  Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 1 of 82



            IN THE UNITED STATES DISTRICT COURT
              FOR THE DISTRICT OF PUERTO RICO

NOEMI TORRES RONDA; ANGELO RIVERA       *
LAMBOY                                  *
                                        *
Plaintiffs,                             *
                                        *
          v.,                           *
                                        *          CIVIL NO.:
JOINT UNDERWRITING ASSOCIATION;         *
CARIBBEAN ALLIANCE INSURANCE COMPANY;   *
CHARTIS INSURANCE COMPANY OF PUERTO     *
RICO; COOPERATIVA DE SEGUROS MULTIPLES *           RE: CIVIL
RICO DE PUERTO RICO; INTEGRAND ASSURANCE*          CLASS ACTION
COMPANY; MAPFRE-PRAICO; NATIONAL        *
INSURANCE COMPANY; OPTIMA INSURANCE     *          PLAINTIFFS
COMPANY; REAL LEGACY ASSURANCE COMPANY, *          DEMAND
INC.; ROYAL & SUN ALLIANCE OF PUERTO    *          TRIAL BY
RICO, INC.; SEGUROS TRIPLE-S PROPIEDAD *           JURY
INC.; UNIVERSAL INSURANCE COMPANY;      *
ALLSTATE INSURANCE COMPANY; GENERAL     *
ACCIDENT INSURANCE COMPANY; NATIONWIDE *
MUTUAL INSURANCE COMPANY; INSURANCE     *
COMMISSIONER OF THE COMMONWEALTH OF     *
PUERTO RICO, RAMÓN L. CRUZ-COLÓN, in    *
his official capacity; SECRETARY OF THE *
DEPARTMENT OF TRANSPORTATION AND PUBLIC *
WORKS, RUBEN A. HERNANDEZ GREGORAT, in *
his official capacity; and, SECRETARY   *
OF THE DEPARTMENT OF THE TREASURY of    *
the COMMONWEALTH OF PUERTO RICO, JESUS *
F. MENDEZ, in his official capacity,    *
                                        *
Defendants.                             *
*****************************************

         PLAINTIFFS’ CLASS ACTION COMPLAINT
  Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 2 of 82



                             INDEX
                                                         Page(s)
I. NATURE OF THE ACTION                                  1-4

II. JURISDICTION AND VENUE                               4-5

III. PARTIES                                             5-17

    A. PLAINTIFFS AND CLASS DEFINITION                   5-7

    B. THE DEFENDANTS                                    7-17

IV. ASSOCIATED IN FACT INDIVIDUALS                       17-19

V. OTHER PARTICIPANT INDIVIDUALS                         19

VI. THE COMPULSORY LIABILITY INSURANCE SYSTEM            19-27

VII. DEFENDANTS’ SCHEME TO DEFRAUD                       28-30

VIII. THE ENTERPRISE                                     30-32

IX. COMMON FACTUAL ALLEGATIONS                           32-49

X. THE PREDICATE ACTS                                    50-51

XI. THE PATTERN OF RACKETEERING ACTIVITY                 51-52

XII. CLASS ALLEGATIONS                                   53-59

XIII. LAW VIOLATIONS IN FURTHERANCE OF
THE SCHEME TO DEFRAUD                                    59-76

    COUNT I – VIOLATIONS TO SECTION                      59-65
    1962(c) OF RICO

          A. THE ENTERPRISE                              59-61

          B. RACKETEERING PREDICATE ACTS                 61-63

          C. THE INJURY BY REASON OF THE
             VIOLATION OF SECTION 1962(c)                63-65

    COUNT II – VIOLATIONS TO SECTION
    1962(a) OF RICO                                      65-70

          A. THE ENTERPRISE                              65

          B. THE RACKETEERING INCOME                     65-68

                                                         Page(s)


                               ii
  Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 3 of 82




          C. THE INJURY BY REASON OF THE
             VIOLATION OF SECTION 1962(a)                68-70

    COUNT III – VIOLATIONS TO SECTION
    1962(d) OF RICO                                      70-72

          A. THE ENTERPRISE                              70

          B. THE CONSPIRACY                              70-71

          C. THE INJURY BY REASON OF THE
             VIOLATION OF SECTION 1962(d)                71-72

    COUNT IV – THE INSURANCE CODE VIOLATIONS             73-75

    COUNT V – DECEIT (“DOLO”) IN THE
    FULFILLMENT OF CONTRACTUAL OBLIGATIONS               75-76

XIV. PERMANENT INJUNCTION AND
DECLARATORY JUDGMENT                                     76-78

XV. PRAYER FOR RELIEF                                    78




                               iii
        Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 4 of 82



TO THE HONORABLE COURT:

    Plaintiffs,      by     through   the    undersigned      counsels,     very

respectfully state, allege, and request:

                          I. NATURE OF THE ACTION

    1.1     The   present    litigation     is   a   class   action   of   motor

vehicle owners, pursuant to           Title IX of the Organized Crime

Control Act of 1970, otherwise known as Racketeer Influenced and

Corrupt Organizations Act (henceforth "RICO"), as well as the

provisions of Rule 23 of Federal Civil Procedure, in which the

Representative Plaintiffs, on behalf of the Class, request that

the Defendants return to the owners of motor vehicles                      those

portions of the annual dollar-premium collected from them when

they acquired the policies of the compulsory liability insurance

established by law, and which were withheld and misappropriated

by the Defendants, in violation to the Puerto Rico Insurance

Code.

    1.2     The Representative Plaintiffs were insured under the

Compulsory Motor Vehicle Liability Insurance Act, Law 253 of

December 27, 1995, codified at 26 P.R. Laws Ann. §§ 8051 et seq.

(henceforth "Law 253"), which came into effect on January 1,

1998. They had to pay either a premium of $99.00 for a private

unit or a premium of $148 for a commercial unit, which are

uniform, the same as approximately the other 2,400,000 owners of

private and commercial motor vehicles in Puerto Rico.
       Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 5 of 82



      1.3    The Defendants, the entity created by Law 253 and the

individual     insurance         companies      that   comprise          it,   taking

advantage    of     their    interlocking       directorships,      conspired     and

agreed with each other to engage, and did in fact engage, in

millions of predicate acts of mail fraud, in violation of RICO,

18 U.S.C. §§ 1341, 1962, as part of a scheme to defraud and

obtain money from Puerto Rican motor vehicle owners.

      1.4    The Defendants devised a scheme or artifice to defraud

whereby they charged all Puerto Rican motor vehicle owners an 8%

of the dollar premium by concept of an “acquisition cost” for

services of brokers that they knew were not going to be used by

the   insured,      plus    an   amount   estimated    in    4%     of   the   do1lar

premium by concept of an “administrative cost" for the issuance

of paper copies of policies, which they never intended to issue

to the insured. The Defendants, thereafter, failed to reimburse

to the motor vehicle owners the price they had unknowingly paid

for such non-incurred charges, hidden in the annual insurance

premium     rate,    amounting     to     12%   of   its    cost.    Instead,     the

Defendants embezzled such funds for their own pecuniary benefit.

      1.5    The collection of the acquisition and administrative

costs, without the corresponding refund or return of the portion

of the premium not incurred as costs constitutes illegal dealing

in premiums prohibited by the dispositions of the Puerto Rico

Insurance Code.

                                           2
      Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 6 of 82



    1.6   The   illegal      retention    and    embezzlement         by   the

Defendants of the portion of the premium or charge for insurance

in excess of the amount spent resulted in million of dollars of

illegal gains for them.

    1.7   From the year 1998 to the present, in furtherance of

the scheme to defraud Puerto Rican motor vehicle owners, the

Defendants   caused,   and   continue    to   cause,   the   United    States

mails to be used to send millions of licenses or registrations

to the over 2,400,000 motor vehicle owners, which contained the

charges for the payment of the compulsory insurance policy. Each

of these mailings is an act that is indictable as mail fraud and

together they constitute a pattern of racketeering activity. By

conspiring to conduct, and in fact conducting, the affairs of

their ENTERPRISE, as defined hereunder, through this pattern of

racketeering activity, the Defendants violated RICO, 18 U.S.C. §

1962(c) & (d). As result, the Representative Plaintiffs and the

Class Members were injured in their property.

    1.8   Furthermore,       the   insurer      created      by   Law      253

transmitted, by means of interstate wire, racketeering proceeds

gained from the scheme to defraud to a financial institution in

Chicago, Illinois. Each of these wire transfers is a predicate

act that is indictable as wire fraud, under 18 U.S.C. § 1343,

and together they constitute a separate and distinct pattern of

racketeering activity. This insurer then used or invested income

                                    3
        Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 7 of 82



received       from     both    patterns      of    racketeering     activity

respectively comprised of predicate acts of mail or wire fraud,

in   its     business   operations,   in   order    to   further   engage    in

illegal dealing in premiums, in violation of RICO, 18 U.S.C. §

1962(a). As result, the Representative Plaintiffs and the Class

Members continued to be injured in their property.

       1.9    Moreover, the Representative Plaintiffs are requesting

declaratory and injunctive relief. A declaratory judgment and

permanent injunction will guarantee that the Defendants and all

parties cease and permanently desist from engaging in illegal

dealings in premiums as to the Representative Plaintiffs and the

Class Members regarding the costs for brokerage services and

paper copies of policies, in violation of the applicable laws,

statutes and regulations. Such relief will also ensure that the

Puerto Rico Insurance Commissioner, the Secretary of the Puerto

Rico   Department       of   Transportation   and   Public   Works   and    the

Secretary of the Treasury Department do not acquiesce to the

Defendants’ conduct.

       1.10 Pursuant to the Seventh Amendment of the United States

Constitution, the Representative Plaintiffs demand a trial by

jury in the instant case. Fed. R. Civ. P. 38b.

                         II. JURISDICTION AND VENUE

       2.1    This Honorable Court has jurisdiction over this civil

action pursuant to 28 U.S.C. § 1331, this being a civil action

                                       4
        Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 8 of 82



which arises under 18 U.S.C. §§ 1961-1968, 901(a) of RICO, and

in particular, under 18 U.S.C. § 1964.

    2.2     Venue    is   proper    in   the   instant     case   as       all   claims

arise from events that have occurred and are occurring within

the jurisdiction of this Court in the Commonwealth of Puerto

Rico.

    2.3     The     Representative       Plaintiffs      further       invoke      the

supplemental jurisdiction of this Court to hear and adjudicate

claims arising under the laws of the Commonwealth of Puerto

Rico,   specifically,      under    Article    27.160      of   the    Puerto     Rico

Insurance Code, 26 P.R. Laws Ann. § 2716, Articles 1054 and 1060

of the Puerto Rico Civil Code, 31 P.R. Laws Ann. §§ 3018, 3024,

and Act No. 118 of June 25, 1971, 32 P.R. Laws Ann. § 3341,

since they are so related to the afore stated federal claims

that they all form part of the same case or controversy under

Article III of the Constitution of the United States.

    2.4     Pursuant to Rule 65(b) of the Federal Rules of Civil

Procedure,    this    Court   has    jurisdiction     to    issue      a    Permanent

Injunction.

                                   III. PARTIES

A. PLAINTIFFS AND CLASS DEFINITION:

    3.1     The individual Plaintiffs and Class Members represent

two Classes of Plaintiffs.



                                         5
        Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 9 of 82



      3.2   The       First    Class    of         Plaintiffs     is    defined    as       all

private motor vehicle owners in the Commonwealth of Puerto Rico,

who in compliance with the Compulsory Motor Vehicle Liability

Insurance Act, acquired compulsory insurance during the years

1998 to the present, paying the uniform annual premium of $99.00

(henceforth referred to as the “Private-Vehicle Class”).

      3.3   The Plaintiff Representative, who appears on her own

behalf, and on behalf and for the benefit of all other members of

the   Private-Vehicle          Class,    is         NOEMI    TORRES     RONDA,    married,

resident    of    Cabo    Rojo,    Puerto          Rico,    and   owner   of     the    motor

vehicle model Mirage, make Mitsubishi, year 1998, and license

plate CZM631.

      3.4   The       Second   Class     of        Plaintiffs      is   defined        as   all

commercial motor vehicle owners in the Commonwealth of Puerto

Rico,   who      in    compliance       with        the    Compulsory     Motor    Vehicle

Liability Insurance Act, acquired compulsory insurance during

the years 1998 to the present, paying the uniform annual premium

of $148.00 (henceforth referred to as the “Commercial-Vehicle

Class”).

      3.5   The Plaintiff Representative, who appear on his own

behalf, and on behalf and for the benefit of all other members of

the Commercial-Vehicle Class, is ANGELO RIVERA LAMBOY, married,

resident    of    Aibonito,       Puerto       Rico,        and   owner   of     the    motor



                                               6
       Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 10 of 82



vehicle model F150, make Ford, year 1997, and license plate

795770.

       3.6    Excluded    from     the     Private-Vehicle          and      Commercial-

Vehicle      Classes    are:     Defendants;         Defendants’      employees,      co-

conspirators, officers, directors, legal representatives, heirs,

successors and wholly or partly owned subsidiaries or affiliated

companies;      class    counsel    and    their      employees;       the    Judge   and

judicial      officers     and     their       immediate      family      members     and

associated court staff assigned to this case; and, all persons

within the third degree of relationship to any such persons.

       3.7    The Plaintiffs have learned of the facts object of the

present action within the four years prior to the filing of the

present      complaint.    Moreover,       as    a   result    of   the      Defendants’

fraudulent concealment, the applicable statutes of limitations

have been tolled or have not yet begun to run.

B. THE DEFENDANTS:

       3.8 The Defendants are: the JOINT UNDERWRITING ASSOCIATION

or, in Spanish, “Asociación de Suscripción Conjunta De Seguro De

Responsabilidad          Obligatorio”           ("JUA");      CARIBBEAN        ALLIANCE

INSURANCE COMPANY (“CAICO”); CHARTIS INSURANCE CO., OF PUERTO

RICO    (“CHARTIS”),       formerly       known      as    AMERICAN       INTERNATIONAL

INSURANCE COMPANY OF PUERTO RICO (“AIG”); COOPERATIVA DE SEGUROS

MULTIPLES DE PUERTO RICO (“COOPERATIVA”); INTEGRAND ASSURANCE

COMPANY (“INTEGRAND”); MAPFRE-PRAICO, formerly known as PUERTO

                                           7
       Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 11 of 82



RICO AMERICAN INSURANCE COMPANY (“PRAICO”); NATIONAL INSURANCE

COMPANY (“NATIONAL”); OPTIMA INSURANCE COMPANY (“OPTIMA”); REAL

LEGACY ASSURANCE COMPANY, INCORPORATED (“REAL LEGACY”); ROYAL &

SUN   ALLIANCE     OF     PUERTO   RICO,       INCORPORATED    (“ROYAL     &   SUN”);

SEGUROS TRIPLE-S PROPIEDAD, INCORPORATED (“TRIPLE-S”); UNIVERSAL

INSURANCE COMPANY (“UNIVERSAL”); MAPFRE PREFERRED RISK INSURANCE

COMPANY,       formerly    know    as    PREFERRED     RISK    INSURANCE       COMPANY

(“PREFERRED      RISK”);     ALLSTATE      INSURANCE     COMPANY     (“ALLSTATE”);

GENERAL     ACCIDENT       INSURANCE       COMPANY       (“GENERAL     ACCIDENT”);

NATIONWIDE       MUTUAL      INSURANCE         COMPANY    (“NATIONWIDE”);          the

Insurance Commissioner of the Commonwealth of Puerto Rico, RAMON

L. CRUZ-COLON (“CRUZ-COLON”); the Secretary of the Department of

Transportation      and     Public      Works,   RUBEN   A.    HERNANDEZ-GREGORAT

(“HERNANDEZ-GREGORAT”); and, the Secretary of the Department of

the Treasury of the Commonwealth of Puerto Rico, JESUS F. MENDEZ

(“MENDEZ”).

      3.9      The JUA was created by Law 253 as a private legal

entity, for profit, and with “general corporate powers,” such as

the faculties to sue and be sued. See, 26 P.R. Laws Ann. §§

8055(A), §2905.

      3.10 The JUA is composed of all “private insurers” whose

volume    of    premiums    underwritten         for   motor   vehicle   liability

insurance is greater than one percent (1%) of the total volume

of motor vehicle liability insurance premiums underwritten in

                                           8
        Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 12 of 82



Puerto Rico. 26 P.R. Laws Ann., §                    8052(b). Presently, these

insurance companies are CAICO, CHARTIS, COOPERATIVA, INTEGRAND,

MAPFRE–PRAICO,        NATIONAL,       OPTIMA,      REAL     LEGACY,    TRIPLE-S     and

UNIVERSAL. In the past, at some point or another in time, AIG

(now known as CHARTIS), PRAICO (now known as MAPFRE–PRAICO),

ROYAL    &   SUN,    PREFERRED    RISK,      ALLSTATE,       GENERAL    ACCIDENT    and

NATIONWIDE also formed part of the JUA.

      3.11    At      all    times     relevant          herein,   CAICO,    CHARTIS,

COOPERATIVA,        INTEGRAND,    MAPFRE–PRAICO,           NATIONAL,    OPTIMA,    REAL

LEGACY, TRIPLE-S, UNIVERSAL, AIG, PRAICO, ROYAL & SUN, PREFERRED

RISK,    ALLSTATE,      GENERAL      ACCIDENT       and    NATIONWIDE     (henceforth

collectively        referred     to     as       “traditional      insurers”)      were

incorporated or organized under the laws of, and with their

principal     places    of   business        in,   the     Commonwealth     of   Puerto

Rico, where they were authorized to conduct, as they conducted,

the business of insurance.

      3.12 Since its creation, the JUA’s Board of Directors, by

law, was to be comprised of five Directors. The members of the

JUA elected four Directors, while the fifth Director was the

officer in charge of the JUA. In the year 2002, the number of

members of the JUA’s Board of Directors was increased by law to

seven, of which three were to be appointed by the Governor of

the   Commonwealth      of    Puerto    Rico       and    the   remaining   four    are

members of the JUA. However, the Governor, as mandated by law,

                                             9
     Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 13 of 82



never appointed the three additional directors of the JUA. The

2009 amendment to Law 253 provided that the three governmental

appointees cannot be public officers and must be knowledgeable

of the insurance market. 26 P.R. Laws Ann. § 8055(f).

    3.13 The Board of Directors of the JUA, since its creation

in December 27, 1995, and up to the present, has served as a

conduit for the ENTERPRISE’S fraudulent objectives, by which the

interlocking directors of the JUA and the traditional insurer

members    of    such   ENTERPRISE,      jointly    with    other    individuals,

knowingly,       intentionally     and   unlawfully,       have   met,     planned,

devised,        organized,   and      assisted      in     the      adoption     and

implementation of part, or all, of the fraudulent artifices that

form part of the Scheme to Defraud defined herein after.

    3.14 In the years 1996 and 1997, the Board of Directors of

the JUA was comprised of the following individuals: Juan Antonio

Terrassa   (“Terrassa”),      President,      and   also,    President      of   the

Board of Directors of PRAICO; Luis Miranda-Casañas (“Miranda-

Casañas”), Vice-President, and also, President of the Board of

Directors of UNIVERSAL; Edwin Quiñones (“Quiñones”), Director,

and also, President of the Board of Directors of COOPERATIVA;

Dennis     Hanftwurzel       (“Hanftwurzel”),        Director,        and      also,

President of the Board of Directors of GENERAL ACCIDENT; Hilda

Rodriguez-Forteza,       Esq.      (“Rodriguez-Forteza”);           and,    Alberto

Rodriguez, Esq.(“Rodriguez).

                                         10
        Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 14 of 82



      3.15 In the year 1998, the Board of Directors of the JUA

was comprised of the following individuals: Terrassa, President,

and   also,    President    of    the    Board     of    Directors        of     PRAICO;

Miranda-Casañas,      Vice-President,        and      also,    President         of   the

Board    of   Directors     of    UNIVERSAL;       Adrian       Ortiz      (“Ortiz”),

Executive Director; Quiñones, Director, and also, President of

the Board of Directors of COOPERATIVA; Rodriguez-Forteza; and,

Rodriguez.

      3.16 In the year 1999, the Board of Directors of the JUA

was comprised of the following individuals: Terrassa, President,

and   also,    President    of    the    Board     of   Directors         of     PRAICO;

Miranda-Casañas,      Vice-President,        and      also,    President         of   the

Board    of   Directors    of    UNIVERSAL;      Ortiz,       Executive        Director;

Quiñones,     Director,    and     also,     President         of   the    Board      of

Directors of COOPERATIVA; Patricia Gonya (“Gonya”), Director,

and   also,    Director    of    the    Board    of     NATIONWIDE;        Rodriguez-

Forteza; and, Rodriguez.

      3.17 In the year 2000, the Board of Directors of the JUA

was comprised of the following individuals: Terrassa, President,

and   also,    President    of    the    Board     of   Directors         of     PRAICO;

Miranda-Casañas,      Vice-President,        and      also,    President         of   the

Board    of   Directors    of    UNIVERSAL;      Ortiz,       Executive        Director;

Quiñones,     Director,    and     also,     President         of   the    Board      of



                                        11
        Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 15 of 82



Directors of COOPERATIVA; Gonya, Director, and also, Director of

the Board of NATIONWIDE; Rodriguez-Forteza; and, Rodriguez.

      3.18 In the year 2001, the Board of Directors of the JUA

was comprised of the following individuals: Terrassa, President,

and   also,    President     of    the    Board       of    Directors      of     PRAICO;

Miranda-Casañas,        Vice-President,         and    also,       President      of    the

Board    of   Directors      of     UNIVERSAL;        Rene     Campos      (“Campos”),

Director,     and    also,   President      of   the       Board    of    Directors      of

COOPERATIVA; Victor Salgado-Micheo (“Salgado-Micheo”), Director,

and also, Director of the Board of INTEGRAND.

      3.19 In the year 2002, the Board of Directors of the JUA

was comprised of the following individuals:                   Campos,          President,

and also, President of the Board of Directors of COOPERATIVA;

Miranda-Casañas,        Vice-President,         and    also,       President      of    the

Board of Directors of UNIVERSAL; Salgado-Micheo, Director, and

also, Director of the Board of INTEGRAND; and, Antonio Huertas

(“Huertas”),        Director,     and    also    President         of    the    Board   of

Directors of PRAICO.

      3.20 In the year 2003, the Board of Directors of the JUA

was comprised of the following individuals:                   Campos,          President,

and also, President of the Board of Directors of COOPERATIVA;

Salgado-Micheo, Vice-President, and also, President of the Board

of Directors of INTEGRAND; Miranda-Casañas, Director, and also,

President of the Board of Directors of UNIVERSAL; and, Huertas,

                                          12
       Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 16 of 82



Director,   and   also    President      of     the    Board    of     Directors     of

PRAICO.

      3.21 In the year 2004, the Board of Directors of the JUA

was comprised of the following individuals:               Campos,          President,

and also, President of the Board of Directors of COOPERATIVA;

Miranda-Casañas,       Vice-President,        and     also,    President      of    the

Board of Directors of UNIVERSAL; Salgado-Micheo, Director, and

also, President of the Board of Directors of INTEGRAND; and,

Raul Costilla (“Costilla”), Director, and also, President of the

Board of Directors of PRAICO.

      3.22 In the year 2005, the Board of Directors of the JUA

was   comprised   of    the     following     individuals:          Miranda-Casañas,

President, and also, President of the Board of Directors of

UNIVERSAL; Salgado-Micheo, Vice-President, and also, President

of the Board of Directors of INTEGRAND; Campos, Director, and

also, President of the Board of Directors of COOPERATIVA; and,

Costilla,    Director,        and    also,    President       of     the   Board    of

Directors of PRAICO.

      3.23 In the year 2006, the Board of Directors of the JUA

was   comprised    of     the       following       individuals:       Victor      Rios

(“Rios”),    President,       and    also,    President        of    the   Board    of

Directors    of   REAL    LEGACY;       Eva     Salgado       (“Salgado”),      Vice-

President, and also, President               of the Board of Directors of

TRIPLE-S; Costilla, Director, and also, President of the Board

                                        13
        Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 17 of 82



of Directors of PRAICO; and, Francisco Diaz, Director, and also,

President of the Board of Directors of AIG, now CHARTIS.

      3.24 In the year 2007, the Board of Directors of the JUA

was   comprised    of    the    following          individuals:       Miranda-Casañas,

President, and also, President of the Board of Directors of

UNIVERSAL; Salgado-Micheo, Vice-President, and also, President

of the Board of Directors of INTEGRAND; Campos, Director, and

also, President of the Board of Directors of COOPERATIVA; and,

Costilla,     Director,        and    also,        President     of        the   Board   of

Directors of PRAICO.

      3.25 In the year 2008, the Board of Directors of the JUA

was comprised of the following individuals: Rios, President, and

also, President of the Board of Directors of REAL LEGACY; Luis

Berrios (“Berrios”), Vice-President, and also, President of the

Board of Directors of UNIVERSAL; Salgado, Director, and also,

President of the Board of Directors of TRIPLE-S; and, Costilla,

Director,    and   also,     President        of       the   Board    of    Directors    of

MAPFRE-PRAICO.

      3.26 In the year 2009, the Board of Directors of the JUA

was comprised of the following individuals: Rios, President, and

also,    President      of   the     Board        of   Directors     of     REAL   LEGACY;

Berrios, Vice-President, and also, President of the Board of

Directors of UNIVERSAL; Salgado, Director, and also, President



                                             14
        Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 18 of 82



of the Board of Directors of TRIPLE-S; and, Costilla, Director,

and also, President of the Board of Directors of PRAICO.

        3.27 In the year 2010, the Board of Directors of the JUA

was comprised of the following individuals: Rios, President, and

also,    President        of   the       Board        of    Directors        of     REAL    LEGACY;

Monique      Miranda,     Vice-President,                  and    also,      President      of   the

Board of Directors of UNIVERSAL; Salgado, Director, and also,

President      of   the    Board         of   Directors            of   TRIPLE-S;         Costilla,

Director,     and   also,      President          of        the    Board      of    Directors      of

MAPFRE–PRAICO;         Eduardo       R    Emanuelli;              Terrassa;        and,    Angel    M

Cintrón.

        3.28 The Defendants, either on their own or through their

agents, are currently found in, and/or transact business within,

the   Commonwealth        of   Puerto         Rico,        and/or       at   the    time    of     the

commission of the acts alleged hereunder were found in, and/or

transacted business within the Commonwealth of Puerto Rico, and

the cause of action which is the object of this complaint arises

out of those business transactions in the Commonwealth of Puerto

Rico.

        3.29 At all times relevant herein, the Defendants, on their

own     or   through      their      agents       or        employees,        have    knowingly,

intentionally and unlawfully, aided and abetted and conspired

with the other members of the ENTERPRISE defined hereunder to

commit within the Commonwealth of Puerto Rico the wrongful acts

                                                 15
       Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 19 of 82



alleged in this complaint and/or committed or participated in the

commission of those acts within or outside the Commonwealth of

Puerto Rico, purposefully directing their wrongful acts toward

the forum of Puerto Rico, causing in Puerto Rico, directly or

indirectly, the violations of RICO and the injuries sustained by

the Representative Plaintiffs and Class Members.

       3.30 Each of the Defendants, individually, and through its

association-in-fact with the other Defendants (the ENTERPRISE),

is or has been engaged in, or its activities affect or have

affected, interstate commerce.

       3.31 Defendants'       racketeering        activities    were   conducted

through a pattern of acts and transactions, which occurred and/or

had their effect within the Commonwealth of Puerto Rico.

       3.32 CRUZ-COLON, as Insurance Commissioner, sets the terms

of the compulsory liability insurance policy, the premium rate,

and    the     amount   of    coverage.      By     statute,    the    Insurance

Commissioner is directed to establish the manner of distribution

of    the    total   amount   of   premiums   received     by    the   JUA,   the

structure and operation of the JUA, and its direction by its

Board of Directors, so that the JUA may accomplish its goals in

a "cost-effective, fair and nondiscriminatory" manner; and, he

has considerable supervision over the operating plan and the

method of premium distribution.             26 P.R. Laws Ann., §§ 8055,



                                       16
        Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 20 of 82



8056.    CRUZ-COLON         is    sued   in    his     official       capacity      only    for

purposes of the implementation of injunctive relief.

       3.33 HERNANDEZ-GREGORAT                 oversees        and     administers          the

operations of the Department of Transportation and Public Works

(“DTPW”), which issues and mails, via the U.S. Postal Service,

the     motor        vehicle     registration,         which    includes       the    annual

premium for the compulsory liability insurance policy, to each

motor vehicle owner. By statute, the Secretary of the DTPW is

directed        to      provide     to   the     JUA    all     relevant       information

regarding the insured motor vehicle owners and the payment of

the license stickers.               26 P.R. Laws Ann., § 8055.                   HERNANDEZ-

GREGORAT is sued in his official capacity only for purposes of

the implementation of injunctive relief.

       3.34 MENDEZ oversees and administers the operations of the

Department         of    the     Treasury     (“Treasury”),          which   collects       the

premium      for      the   compulsory      liability      insurance         paid    by    each

motor vehicle owner at the time he/she acquires or renews the

motor vehicle's license. 26 P.R. Laws Ann., §§ 8051, 8053(a).

The Secretary of the Treasury then turns over the total amount

of the premiums so received to the JUA. Id., § 8055(c). MENDEZ

is    sued   in       his   official     capacity       only    for     purposes     of     the

implementation of injunctive relief.




                                               17
        Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 21 of 82



                     IV. ASSOCIATED IN FACT INDIVIDUALS

      4.1     Juan   A.    Garcia       (“Garcia”)       is    the    former      Insurance

Commissioner of the Commonwealth of Puerto Rico, for the period

covering 1993 to 2001. As such, he knowingly, intentionally and

unlawfully, aided and abetted and conspired with the members of

the ENTERPRISE in approving premium rates, rules and regulations

that were used in carrying out the Scheme to Defraud described

hereunder.

      4.2     CRUZ-COLON         was     the     Assistant       to       the     Insurance

Commissioner Garcia, for the period covering 1993 to 2001. As

such,    he   knowingly,         intentionally         and    unlawfully,        aided    and

abetted and conspired with the members of the ENTERPRISE in

furtherance of the Scheme to Defraud described hereunder.

      4.3     Ortiz held the position of President of the JUA, in

the   years    1997       to    2000,    and     was    member       of    its    Board   of

Directors,     in    the       years    1998,    1999    and    2000.      He    knowingly,

intentionally and unlawfully, planned, devised and concocted the

fraudulent artifices that form part of the Scheme to Defraud

defined hereunder, and aided and abetted and conspired with the

members of the ENTERPRISE in furtherance thereof.

      4.4     Miranda-Casañas was a member of the Board of Directors

of the JUA, in the years 1996, 1997, 1998, 1999, 2000, 2001,

2002, 2003, 2004, 2005 and 2007. He knowingly, intentionally and

unlawfully,      planned,         devised       and     concocted         the    fraudulent

                                            18
        Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 22 of 82



artifices      that    form    part     of      the     Scheme     to     Defraud       defined

hereunder, and aided and abetted and conspired with the members

of the ENTERPRISE in furtherance thereof.

       4.5    Terrassa was a member of the Board of Directors of the

JUA, in the years 1996, 1997, 1998, 1999, 2000, 2001 and 2010.

He knowingly, intentionally and unlawfully, planned, devised and

concocted the fraudulent artifices that form part of the Scheme

to     Defraud      defined    hereunder,          and        aided      and       abetted   and

conspired      with    the    members      of     the    ENTERPRISE           in    furtherance

thereof.

                       V. OTHER PARTICIPANT INDIVIDUALS

       5.     The     Insurance    Commissioners              of   the    Commonwealth        of

Puerto Rico, for the period covering from 2001, and up to the

present      time,    were    either    willfully         blind,        and/or       knowingly,

intentionally and unlawfully, aided and abetted and conspired

with    the    other     members      of     the      ENTERPRISE         in    allowing      the

perpetuation of the Scheme to Defraud defined hereunder.

              VI. THE COMPULSORY LIABILITY INSURANCE SYSTEM

       6.1    Before    the    enactment        of      Law    253,     uninsured       drivers

caused over $110 million in damages to other vehicles each year

in Puerto Rico, and it was estimated that only 25 percent to 30

percent of the vehicles in Puerto Rico were covered under some

type of liability insurance.



                                             19
       Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 23 of 82



      6.2   In view of the problem of financial loss as a result

of uncompensated damages to motor vehicles in traffic accidents,

Law   253   created    a    compulsory    automobile      liability      insurance

system, which covers the damages caused to other motor vehicles

in such accidents. To such ends, Law 253 requires every motor

vehicle owner in Puerto Rico to obtain and keep a liability

insurance coverage in effect to respond for damages caused by

said individual to motor vehicles of third parties in a traffic

accident. 26 P.R. Laws Ann., § 8051.

      6.3   Beginning in the year 1998, this compulsory insurance

system provided each insured motor vehicle owner with $3,000 of

coverage    for   damages      caused     to    another    motor      vehicle    per

accident in exchange for a uniform premium, set at $99 for each

private passenger vehicle and $148 for each commercial vehicle.

26 P.R. Laws Ann., §§ 8052(j) and 8056(a)). In the year 2009,

the coverage of the compulsory insurance was increased to                          a

$4,000 limit per accident. 26 P.R. Laws Ann., § 8052(k).

      6.4   Law 253 allows the motor vehicle owners to obtain the

compulsory coverage through the traditional insurers or through

the JUA. The traditional insurers are required by law to offer

the   compulsory      liability       insurance      in   two   ways:     both   as

traditional    insurers      to   a   defined     class    of   drivers    and    as

members of the JUA, to which they belong. 26 P.R. Laws Ann. §§

8053(d),    8054(a),       8055(a).     Law    253   allows     the    traditional

                                         20
     Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 24 of 82



insurers   to   reject    certain    applicants   for      the     compulsory

insurance, pursuant to regulations promulgated by the Insurance

Commissioner. Id., § 8054(b). The criteria for rejection are

defined by the Insurance Commissioner's Puerto Rican Insurance

Rule LXX ("Rule LXX"), promulgated in Regulation No. 6254, in

December   of   2000.    Most   of   the   criteria   in    Rule    LXX   for

permissible rejections identify applicants who are bad drivers

or otherwise of high risk. Rule LXX, Art. 8.

    6.5    Law 253 created the JUA as a residual market insurer

to provide insurance coverage to the high-risk drivers rejected

by the traditional insurers, 26 P.R. Laws Ann. § 8055(b), which

were originally calculated to be around 3% of the applicants.

    6.6    Law 253 allows motor vehicle owners to opt out of the

compulsory liability insurance scheme by purchasing traditional

liability insurance with comparable or better coverage. Id., §

8061; Rule LXX, Art. 12(a).

    6.7    Law 253 requires the traditional insurers to offer the

policy despite the availability of coverage from the JUA, 26

P.R. Laws Ann. §§ 8054(a), 8055(b), and allows them to apply for

approval and to sell the compulsory insurance at less than the

rate set by the Commonwealth, id. § 8056(c). The legislative

history suggests that Law 253 was meant to encourage competition

"between insurance companies wanting to have a greater number of

insured, which will have to extend offers in order to attract

                                     21
      Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 25 of 82



them." Daily Sessions Record, Senate of Puerto Rico, Monday,

October 9, 1995. As a result, the statutory scheme contemplated

competition in compulsory insurance for non-high-risk drivers

between traditional insurers themselves and between them and the

JUA. See, Arroyo-Melecio v. Puerto Rican Am. Ins. Co., 398 F.3d

56, 60 (1st Cir. 2005).

      6.8   The    DTPW    is   in    charge        of     the   billing   for     the

compulsory liability insurance. To that effect, the DTPW places

in the post offices or authorized depositories for mail matter,

the   registrations       for   all     motor       vehicles     in   Puerto     Rico,

containing   the    annual      premium       for    the    compulsory     insurance

policy, which are then delivered, by the U.S. Postal Service, to

the motor vehicles owners.

      6.9   Each   vehicle      owner    must       pay    the   premium   for    the

compulsory liability insurance to the Secretary of the Treasury

at the time he acquires or renews the vehicle's license. 26 P.R.

Laws Ann., §§ 8051, 8053(a). The Secretary then turns over the

total amount of the premiums so received to the JUA, which is

then responsible for distributing the premiums among its members

and itself, as the case may be. Id., § 8055(c); Rule LXX, Art.

19.

      6.10 The     motor    vehicle       registration           stamped   as     paid

constitutes evidence of compliance with the compulsory liability

insurance system.

                                         22
        Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 26 of 82



    6.11 Every motor vehicle for which the requisite compulsory

liability insurance premium has been paid is considered to be

insured by the JUA, unless the owner of the same has selected a

traditional insurer or purchased a traditional insurance policy.

See, Rule LXX, Art. 12(a).

    6.12 When the owner of the motor vehicle had traditional

liability insurance in effect at the time of the issuance or

renewal of the license, the JUA was supposed to issue a check

payable to the Secretary of the Treasury to be used by such

insured to pay for the compulsory liability insurance premium;

but, in reality, the practice was that the insured paid such

premium    to   the   Secretary   of    the     Treasury      at    the    moment   of

issuance or renewal of the license and could thereafter seek a

credit of that premium to his traditional insurance premium from

his insurer. Rule LXX, Art 10(a); 26 P.R. Laws Ann., § 8061(b).

    6.13 The 2009 amendment to Law 253 requires the traditional

insurer to issue to its insured a certification authorized by

the JUA as evidence of compliance with the compulsory liability

insurance, which the motor vehicle owner                   may present to           the

Secretary of the Treasury to avoid making duplicate compulsory

premium insurance payments. 26 P.R. Laws Ann., § 8061(b). When

the motor vehicle owner pays the compulsory insurance premium

directly to the Secretary of the Treasury, which is usually the

case,    the    traditional   insurer        then   credits    in    the    premiums

                                        23
       Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 27 of 82



charged to the insured for the traditional liability insurance

the amount of the payment received from the Secretary of the

Treasury in compliance with the provisions of Law 253. Id.

       6.14 All    members    of   the    JUA   share       in    its    profits   and

losses. 26 P.R. Laws Ann. § 8055(e). To compensate for the fact

that the JUA would supposedly insure drivers considered to be

high   risk   by    traditional     insurers,         all   the    JUA's    profits,

including those distributed to the traditional insurers, were

originally exempt from income taxes, until the law was amended

on September 24, 2002. But the 2009 amendment reestablished the

tax exemption when the profits are deposited in governmental

banks (“Banco Gubernamental de Fomento” or “Banco de Desarrollo

Economico”). Id., § 8055. Through the JUA, the risk of insuring

these high-risk drivers was supposed to be spread among all the

traditional insurers. The profits distributed to the JUA members

(the traditional insurers) also encompass the profits from the

sale of non-high-risk policies insured by the JUA. See, Arroyo-

Melecio, 398 F.3d, at 62.

       6.15 For both the traditional insurers and the JUA, the

Commonwealth, through the Insurance Commissioner, sets the terms

of   the   compulsory   policy     itself,      the    premium      rate,    and   the

amount of coverage.

       6.16 The Puerto Rico Mandatory Liability Insurance Uniform

Policy,    the     policy    defining     the    terms       of    the    compulsory

                                         24
       Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 28 of 82



liability         insurance,     is     set        forth           in   the     Insurance

Commissioner's rules. Rule LXX, Art. 22. This Uniform Policy is

the sole written contract between the insured and the JUA. Id.

Law 253 provides that such Uniform Policy shall be subject to

the provisions of Chapter 11 of Title 26 of Puerto Rico Laws

Annotated. 26 P.R. Laws Ann § 8054(c). Chapter 11, in turn,

requires the issuance of a paper policy to the insured. 26 P.R.

Laws   Ann    §    1114.   In   reality,        however,       a    paper    copy   of    the

Uniform Policy is not issued to the insured.

       6.17 In     Arroyo-Melecio,      the       First    Circuit          squarely     held

that, while created by law, the JUA is "private in nature, for

profit, and ... subject to the provisions of the [Insurance]

Code applicable to insurers." 398 F.3d, at 62, quoting Rule LXX,

Art. 2(c). See, also, Asociacion De Subscripcion Conjunta Del

Seguro   De    Responsabilidad        Obligatorio         v.       Flores    Galarza,     484

F.3d 1, 20 (1st Cir. 2007) (same).

       6.18 The     provisions     of   the       Puerto       Rico     Insurance        Code

relevant to the facts object of this action are listed below.

         A. Article 3.290, which requires that all insurance
            business be transacted through resident authorized
            agents or broker producers, in its relevant part,
            states the following:

              (1) No insurer may effectuate any direct insurance
              upon or relative to any person, property or other
              material object of insurance that resides, is located
              in or is to be carried out in Puerto Rico, nor any
              insurance  related   thereto,   except   through   an


                                           25
     Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 29 of 82



         authorized representative of       said insurer residing in
         Puerto Rico.

26 P.R. Laws Ann. § 329(a).

       B. Article 11.14 requiring the issuance of an insurance
          policy and specifying its contents, in its relevant
          part, states the following:

         (1) The written instrument in which            a   contract   of
         insurance is set forth is the policy.

         (3) The policy shall specify:

         (a)   The names of the parties to the contract, and the
               status of any party where such status is material
               to the contract. The policy shall be headed by
               the insurer's name.

         (b)   The subject of the insurance.

         (c)   The hazards insured against.

         (d)   The amount of the insurance and benefits.

         (e)   The time at which the insurance thereunder takes
               effect and the period during which the insurance
               is to continue.

         (f)   A statement of the premium, and the premium rate
               if   other  than  life,   disability,  or  title
               insurance. ... .

         (g)   The conditions pertaining to the insurance.

26 P.R. Laws Ann § 1114.

       C. Article 27.160 regarding illegal dealing in premiums,
          which reads, in its relevant part, as follows:

         (2) No person shall collect as premium or charge for
         insurance any sum in excess of the amount actually
         expended or in due course to be expended for insurance
         applicable to the subject on account of which the
         premium was collected or charged.



                                   26
     Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 30 of 82



         (3) Any sum collected as premium or charge for
         insurance in excess of the amount actually expended
         for insurance or for medical examination in the case
         of life insurance, applicable  to   the  subject  on
         account of which the premium or charge was collected
         shall be returned to the person entitled thereto
         within thirty (30) days from the date in which it
         is requested, and if not requested, within the term
         of ninety (90) days.

         Any person who fails to return said sums within the
         term set forth in this subsection shall be bound to
         pay legal interest on the amount to be returned.

26 P.R. Laws Ann. § 2716(2)-(3).

    6.19 The    OIC’s     Interpretive        Rulings       of   Article      27.160,

regarding the charging of broker’s fees for insurance coverage,

provides that in such cases where a broker is not used -- as the

exception to the rule requiring that all policies be transacted

through brokers (Article 3.290) -- the charging of broker’s fees

would violate Article 27.160.

    6.20 On    April    29,    2009,   as    result    of    the    First     Circuit

holding in Flores Galarza, supra, to the effects that the JUA

operates as a private enterprise and is, in fact, a private

enterprise,    and   that     the   premiums       collected       by    concept   of

compulsory    liability     insurance       are,    likewise,       of    a   private

nature, the Commonwealth Legislature amended those provisions of

Law 253 affected by such judicial determination See, Statement

of Purposes, Act 347 of April 29, 2009.




                                       27
     Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 31 of 82



                    VII. DEFENDANTS’ SCHEME TO DEFRAUD

     7.1    The    Individual     Plaintiffs     (“Plaintiffs”)       bring    this

action on behalf of themselves and two Classes of similarly

situated    persons     (“Class      Members”)    seeking    redress     for   the

illegal acts of the Defendants, which have resulted in a loss of

their property, and for declaratory and injunctive relief to end

those practices and prevent further losses.

     7.2    From on or about 1997, and up to the present time, the

Defendants herein, at the same               or different points in time,

knowingly,       intentionally    and      unlawfully,    aided   and    abetted,

conspired    and    associated    in    fact   between    themselves,     through

their ENTERPRISE, to confederate and agree with each other, for

the purpose of devising, or intending to devise a scheme or

artifice to defraud and to obtain money, by means of false or

fraudulent pretenses, representations or promises; and, directly

participated      in,   or   aided   and     abetted,    counseled,     commanded,

induced, procured or caused and conspired in, the perpetration of

such scheme to defraud and to obtain money.

     7.3 The scheme to defraud and to obtain money consisted in

the following:

            a)     Defendants, utilizing the motor vehicle licenses
                   or registrations printed by the DTPW as a conduit
                   to   create   an   appearance   of   unquestionable
                   legitimacy, billed all Puerto Rican motor vehicle
                   owners   for    compulsory    liability   insurance
                   coverage at the time of the issuance or renewal
                   of such licenses or registrations;

                                        28
       Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 32 of 82



             b)    Defendants willfully and wrongfully charged all
                   motor vehicle owners therein an 8% of the dollar
                   premium by concept of an “acquisition cost” for
                   services of brokers that they very well knew were
                   not going to be used by the insured, plus an
                   amount estimated in 4% of the do1lar premium by
                   concept of an “administrative cost" for the
                   issuance of paper copies of policies, which they
                   never intended to issue to the insured; and,

             c)    thereafter, Defendants, illegally, unlawfully,
                   knowingly, deliberately and maliciously deprived
                   said motor vehicle owners of their monies, by not
                   reimbursing them the price they paid for such
                   non-incurred   costs   included  in  the   annual
                   insurance premium rate, amounting to 12% of its
                   cost, thereby embezzling such monies for the
                   pecuniary benefit and economic interest of the
                   members of the      ENTERPRISE (the “Scheme to
                   Defraud”).

       7.4   The    Defendants        had     a     statutory    duty,         under

Commonwealth Law, to return to the Puerto Rican motor vehicle

owners the costs charged for brokerage services that were not

rendered and the costs charged for issuance of policies that

were not incurred. See, 26 P.R. Laws Ann. § 2716(2)-(3) (Illegal

Dealings in Premiums).

       7.5   The   collection     of    the       acquisition   cost     and     the

administrative     cost     without    the    corresponding     refund    of     the

portion of the premium not incurred constitutes a violation to

the provisions of the Puerto Rico Insurance Code. Id.

       7.6   The use of the mails was an integral and essential

part    of   the   Scheme    to   Defraud     since    the   billing     for     the




                                        29
     Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 33 of 82



compulsory       liability       insurance         was    done    through        the    United

States Postal Service.

    7.7     In furtherance of the Scheme to Defraud, Defendants

caused    the    DTPW     to    place    in   the    post     offices       or   authorized

depositories      for     mail    matter      envelopes,         containing       the    motor

vehicles licenses or registrations that included the billing for

the annual premium for the compulsory insurance policy, which

were thereafter delivered, by the United States Postal Service,

to all motor vehicles owners in Puerto Rico.

                                 VIII. THE ENTERPRISE

    8.1     At      all        times     relevant         herein,       the      Defendants

associated in fact for the common purpose of furthering and

engaging in the Scheme to Defraud.

    8.2     The ENTERPRISE is an association-in-fact, an entity

separate     from    and       bigger     than      any     of    the   “persons”         (the

Defendants and other members of the Enterprise) comprising the

same; where, at all times relevant herein, these “persons” were

systematically      linked        with    overlapping        leadership,          structural

and financial ties, and continuing coordination.

    8.3     At    all     times        relevant     herein,       the   ENTERPRISE         was

composed by the association in fact of the JUA and its former or

current    members,       CAICO,       CHARTIS      (formerly       AIG),     COOPERATIVA,

INTEGRAND,      MAPFRE–PRAICO          (formerly         PRAICO),    NATIONAL,         OPTIMA,

REAL LEGACY, TRIPLE-S, UNIVERSAL, ROYAL & SUN, PREFERRED RISK,

                                              30
        Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 34 of 82



ALLSTATE, GENERAL ACCIDENT and NATIONWIDE, together with Garcia,

CRUZ-COLON, Ortiz, Miranda-Casañas, Terrassa and other unnamed

and     yet      unknown      individuals,        partnerships,          corporations        or

associations           (the    “ENTERPRISE”).       It   includes         the      forenamed

Defendants and associated individuals, as well as persons who

have not violated RICO.

      8.4      Structurally,         the     ENTERPRISE        is        an       association

comprised of the Defendants and other persons and entities whose

common link is the purpose and nature of their business, i.e.,

selling motor vehicle compulsory liability insurance policies

and providing coverage to the insured.

      8.5        The    association-in-fact          Enterprise           was      a    formal

legitimate        ongoing      organization,       functioning       as       a   continuing

unit, pursuing an interrelated course of conduct, and with a

common      or    shared       purpose     and    continuity        of     structure        and

personnel.

      8.6      The      forenamed        Defendants,      as        members            of   the

ENTERPRISE, used said formal and legitimate association-in-fact

ENTERPRISE as an instrument to perpetrate the Scheme to Defraud,

through the pattern of racketeering activity, as fully described

herein after. The aim of the Scheme to Defraud was the sale of

motor         vehicle         compulsory     liability         insurance               policies

fraudulently containing hidden charges for non-incurred costs to

derive racketeering income.

                                             31
        Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 35 of 82



       8.7    The       ENTERPRISE          is     engaged      in    interstate     commerce

through the activities of its associates, as described herein

before.

                             IX. COMMON FACTUAL ALLEGATIONS

       9.1    Law 253 created the JUA as a residual market insurer

for    high-risk            drivers    who       had    been    rejected    by    traditional

insurance carriers. This statute sought to encourage competition

in    compulsory            liability      insurance          for    non-high-risk    drivers

between the traditional insurers themselves and between them and

the JUA. In reality, however, this has not been the practice,

and the JUA has been selling the compulsory liability insurance

to all Puerto Rican drivers. In doing so, the JUA changed its

nature       as    a        residual       insurer       to    a     primary     insurer    and

monopolized this market, which has facilitated the execution of

the Scheme to Defraud.

       9.2    Prior to January 1, 1998, when Law 253 would be in

effect,      the       Office         of   the     Insurance         Commissioner     (“OIC”)

commissioned           an    advisory       or    technical         committee     (“TC”)    from

different sectors of the local insurance community, in order to

rollout and implement Law 253.

       9.3    Membership of the TC included, among others: PRAICO

(now     known         as     MAPFRE–PRAICO),           GENERAL       ACCIDENT,     TRIPLE-S,

GENERAL ACCIDENT, Association of General Agents of Miscellaneous

Insurances        (“Association”),               Professional         Insurance    Agents    of

                                                   32
     Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 36 of 82



Puerto Rico and the Caribbean, Inc. (Professional”), Saldaña &

Associates,        Inc.,     (“Saldaña”),         Antilles   Insurance    Company

(“Antilles”), Toledo, Del Valle & Company, and First Insurance

Group, Inc. (“First”).

    9.4     Early meetings between Insurance Commissioner Garcia

and the TC began at least in early October 1996, and extended to

November     1997.         Among   topics         of   discussion,     were    the

“coordination” of Law 253 insurance and traditional insurance

coverage.

    9.5     On March 17, 1997, in furtherance of the Scheme to

Defraud, Insurance Commissioner Garcia, on behalf of the OIC,

met with the members of the TC -- including, PRAICO, GENERAL

ACCIDENT, TRIPLE-S and GENERAL ACCIDENT -- and representatives

of insurance companies AIG (now known as CHARTIS), INTEGRAND,

NATIONAL, First American Company and Royal Insurance Company of

Puerto     Rico;    and,     acting   in        concert,   jointly,   aiding   and

abetting and conspiring with each other, they all agreed that

all motor vehicle owners would pay the premium for compulsory

liability insurance coverage during the year 1997, at the time

each acquired or renewed the vehicle's license -- even those who

had traditional insurance policies and should have been exempted

from paying duplicative premiums for insurance coverage in the

year 1997. Yet Law 253 provided that it would be in effect and



                                           33
     Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 37 of 82



implemented in the year 1998. These were overt acts committed as

part of the conspiracy to violate RICO.

    9.6     In furtherance of the Scheme to Defraud, a subsequent

TC and OIC meeting was held on March 21, 1997, wherein the

following were present: Insurance Commissioner Garcia; Eunice

Betancourt    from       PRAICO;    Edwin        Diaz    from    Association;        Carlos

Figueroa     from    Professional;        Carmen         Figueroa     from     TRIPLE-S;

Rafael Laffitte from Saldaña; Ramon Antonio Perez from First;

Noemi Ramirez from Antilles; and, Cristina Moran, as Advisor.

Ortiz, Executive President of JUA, appeared as a guest. Arleen

Medina from COOPERATIVA was excused from the meeting.

    9.7     During the TC March 21 meeting, it was agreed that the

Model Mandatory Coverage Application and Policy, which had been

previously    prepared       by    the   TC,       would    be    a   guide        for    the

structuring of the application and policy that the JUA and the

traditional insurers, individually, could use in the issuance of

the compulsory insurance policy. It was further agreed that the

TC would draft a letter for the traditional insurance carriers,

notifying    them    that    payment     for       the    portion     of    the     premium

corresponding       to    compulsory     liability        insurance        could    not    be

differed and had to be paid at the moment of renewal or issuance

of the license; and, that the TC would draft a cover letter to

all the traditional insurance carriers, informing them about the

implementation       of    the    compulsory       liability       insurance        system,

                                            34
       Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 38 of 82



accompanied        by   the    Model      Mandatory   Coverage    Application       and

Policy.      These      were    overt      acts    committed     as     part   of   the

conspiracy to violate RICO.

       9.8   On April 7, 1997, the TC held another meeting, wherein

the    following        were    present:       Insurance     Commissioner      Garcia;

Eunice    Betancourt          from   PRAICO;      Edwin   Diaz   from    Association;

Carlos Figueroa from Professional; Carmen Figueroa from TRIPLE-

S; Rafael Laffitte from Saldaña; Arleen Medina from COOPERATIVA;

Noemi Ramirez from Antilles; and, Cristina Moran, as Advisor.

Ortiz, Executive President of JUA, appeared as a guest.

       9.9   The main topic of discussion in the April 7 meeting,

was the procedure that should be followed to coordinate the

payment of the compulsory liability insurance coverage and the

payment of the traditional insurance policy, in light of the

requirements and limitations expressed by Treasury and the DTPW.

To that end, among several alternatives, the members of the TC

selected     and     suggested       to   Insurance       Commissioner    Garcia    the

following procedure in order to avoid duplicative payments of

premiums for compulsory insurance coverage:

      Everyone pays his/her insurer the premium of the
      traditional liability insurance or the premium of the
      compulsory liability insurance, depending on the type of
      insurance each individual selects, and receives a
      certificate of insurance as evidence of payment. The
      insured shall present the certificate, at payment
      centers, for the renewal of the license sticker and will
      not have to pay any money. The procedure shall be similar


                                             35
        Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 39 of 82



      to the presentation of the certificate of inspection of
      the vehicle.

TC’s Act No. 42 of April 7, 1997.

       9.10 The JUA’s Ortiz voted against the procedure approved

by the TC in Act No. 42.

       9.11 On or about April 9 or 10, 1997, in furtherance of the

Scheme to Defraud, the Board of Directors of the JUA (comprised

of Terrassa of PRAICO, Miranda-Casañas of UNIVERSAL, Quiñones of

COOPERATIVA, Hanftwurzel of GENERAL ACCIDENT, Rodriguez-Forteza

and Rodriguez) held an emergency meeting. Insurance Commissioner

Garcia and Ortiz, Executive President of JUA, participated in

this meeting.

       9.12       During    this   early        April,    1997       meeting,     PRAICO,

UNIVERSAL,         COOPERATIVA,       GENERAL    ACCIDENT,       JUA     and    the    OIC,

acting in concert, jointly, aiding and abetting and conspiring

with each other, rejected the procedure approved by the TC in

Act   No.     42    to   channel   the    payments       of    the   premiums     of    the

compulsory         and     traditional     insurance          policies    through      the

respective particular insurer of each motor vehicle owner. These

were overt acts committed as part of the conspiracy to violate

RICO.

       9.13 On April 16, 1997, in furtherance of the Scheme to

Defraud, Garcia, through the OIC, acting in concert, jointly,

aiding      and    abetting     and    conspiring        with    PRAICO,       UNIVERSAL,


                                           36
        Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 40 of 82



COOPERATIVA, GENERAL ACCIDENT and JUA, officially adopted the

JUA’s Board of Director’s rejection of the procedure approved by

the TC in Act No. 42. This was an overt act committed as part of

the conspiracy to violate RICO.

      9.14 In December 1997, the Legislature of the Commonwealth

of Puerto Rico approved a bill granting a 100% tax exemption for

the profits obtained by the JUA from the sale of compulsory

liability insurance policies and the dividends declared by it to

the member insurance companies.

      9.15 Coincidentally, in December of 1997, in furtherance of

the   Scheme      to    Defraud,       the   Board   of   Directors      of     the    JUA

(comprised of Terrassa of PRAICO, Miranda-Casañas of UNIVERSAL,

Quiñones     of    COOPERATIVA,          Hanftwurzel      of    GENERAL       ACCIDENT,

Rodriguez-Forteza           and   Rodriguez)       held   a    meeting,       with     the

participation          of   Insurance        Commissioner      Garcia     and    Ortiz,

Executive President of the JUA.

      9.16 During this December 1997 meeting, PRAICO, UNIVERSAL,

COOPERATIVA, GENERAL ACCIDENT, the JUA and the OIC, acting in

concert, jointly, aiding and abetting and conspiring with each

other, agreed that the JUA would be the only insurer that would

provide    and    issue     compulsory       liability    insurance      coverage       to

motor    vehicle       owners     in   Puerto     Rico.   These   were    overt       acts

committed as part of the conspiracy to violate RICO.



                                             37
        Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 41 of 82



       9.17 Shortly thereafter, in December 1997, in furtherance

of the Scheme to Defraud, during a meeting with the TC and

members       of    the    JUA,     Insurance      Commissioner       Garcia,     announced

that the JUA would be the only insurer that would provide Law

253 insurance coverage in Puerto Rico and that all payments of

premiums would be channeled through the DTPW. This was an overt

act committed as part of the conspiracy to violate RICO.

       9.18 In       or     about    December      1997,      in    furtherance     of   the

Scheme to Defraud, Insurance Commissioner Garcia, through the

OIC,    acting       in     concert,      jointly,        aiding      and   abetting     and

conspiring with PRAICO, UNIVERSAL, COOPERATIVA, GENERAL ACCIDENT

and     the    JUA,       promulgated       Regulation         LXX.     This    regulation

established that every motor vehicle owner shall pay the premium

corresponding         to     the     compulsory        liability      insurance     to   the

Secretary of the Treasury at the time of the issuance or renewal

of the license or registration; and, thereafter, the Secretary

of the Treasury will transfer the funds of the premiums paid to

the    JUA    for    its     eventual     distribution         among     itself    and   the

traditional insurers. Rule LXX, Art. 9(a). Every motor vehicle

for which the premium has been paid is considered to be insured

by    the     JUA    (unless        its   owner     has    purchased        a   traditional

insurance policy). Id., Art. 12(a). Further, the regulation sets

forth    the       Puerto    Rico     Mandatory        Liability      Insurance     Uniform

Policy,       defining        the     terms       of    the        compulsory     liability

                                              38
        Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 42 of 82



insurance, as the sole written contract between the insured and

the JUA. Id., Art. 22. The promulgation of Regulation LXX was an

overt act committed as part of the conspiracy to violate RICO.

       9.19 The effect of the foregoing was to change the nature

of the JUA from a residual to a primary insurer, able to insure

the motor vehicles directly, even if the traditional insurers

have   not    rejected      the        same;    to     allow       the    JUA    to    effectuate

insurance coverage directly, without the use of any agent or

broker,      eliminating         the    latter       from     the       compulsory      liability

insurance      scheme;      and,        to     establish       one       uniform       compulsory

liability      insurance          policy       applicable           to    all,    deliberately

obviating the issuance of individual policies to the insured.

       9.20 Prior      to    January           1998,    before           Law    253    came    into

effect, the OIC issued notices advising that all motor vehicle

owners would make the payments for compulsory liability coverage

to    the   Department       of    the       Treasury,        as    billed       in    the    motor

vehicle license or registration.

       9.21 Even before the implementation of Law 253 -- which

mandated      the   use     of    insurance          brokers       to    lower    the       cost   of

insurance      on    the         consumer,       maximize           coverage          and    foster

competition;        and,    which       required        the    issuance          of    individual

policies -- the Defendants, by agreeing that the JUA would be

the    only    insurer       providing           compulsory             liability       insurance

coverage, through one uniform written policy, which all motor

                                                39
        Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 43 of 82



vehicle owners had to purchase at the time of the renewal or

issuance of the registrations or licenses, conjured up their

Scheme to Defraud. The utilization of insurance brokers and the

issuance of paper policies were obviated from the compulsory

liability insurance system. However, as shown below, all motor

vehicle owners would be forced to pay the JUA brokerage fees and

policy costs as part of the premium without the participation of

any broker or the issuance of any paper policy in the process,

in    violation      of   the    Puerto    Rico      Insurance       Code.    The    motor

vehicle owners were to pay such fees immediately and in full to

the Secretary of the Treasury in order to be authorized to drive

their vehicles through the Puerto Rico thoroughfares.

       9.22 The Defendants, the JUA, PRAICO (now known as MAPFRE–

PRAICO),      UNIVERSAL,        COOPERATIVA,      GENERAL      ACCIDENT,       TRIPLE-S,

INTEGRAND, NATIONAL and AIG (now known as CHARTIS), jointly with

the     Insurance     Commissioner        Garcia      and     the    other     forenamed

individuals and entities, conjured and designed these artifices

to defraud and obtain money, which formed part of the Scheme to

Defraud,      with   scienter      and    deliberate        intent    to    fraudulently

induce and force the Plaintiffs and Class Members purchasing the

compulsory insurance policy to pay brokerage fees and policy

costs    --   disguised     as     legitimate        charges    in    the    license     or

registration      printed       and   mailed    to    them     by    the    DTPW    --   for

services that the Defendants had no intention of providing or

                                           40
     Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 44 of 82



making available to them, as part of the annual premium rate, to

the Department of the Treasury, which would then transfer by

wire such funds to the JUA. Once in the JUA’s coffers, the

members of the ENTERPRISE misappropriated the monies so paid by

the Plaintiffs and Class Members for brokerage services that

were never rendered and paper policies that were never issued.

    9.23 Billing the Plaintiffs and Class members by means of

license and registrations issued by the DTPW and compelling them

to pay the mandatory insurance premium to the Department of the

Treasury had the effect of legitimizing the Scheme to Defraud by

creating the appearance that it had been approved, sanctioned,

and condoned by two State government agencies as lawful.

    9.24 On August 3, 1999, in furtherance of the Scheme to

Defraud, Ortiz of JUA wrote and mailed a letter to Insurance

Commissioner   Garcia     notifying        the    OIC   that   the   Board   of

Directors (comprised of Terrassa of PRAICO, Miranda-Casañas of

UNIVERSAL, Quiñones of COOPERATIVA, Gonya of NATIONWIDE, Ortiz

of JUA, Rodriguez-Forteza and Rodriguez) had recently approved

the distribution of gains or profits from the sale of compulsory

insurance policies; and, requesting the OIC to furnish to the

JUA the distribution of the premium dollar and the proportional

participation of each of its members for the year 1998. As Ortiz

very well knew, the profits obtained from the sale of policies

included   proceeds     from   charges      for    brokerage    services     not

                                      41
     Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 45 of 82



performed and for policy costs not incurred. This mailing was

delivered in violation of the Mail Fraud Statute, 18 U.S.C. §

1341. Further, this was an overt act committed as part of the

conspiracy to violate RICO.

    9.25 On August 18, 1999, in furtherance of the Scheme to

Defraud, Garcia wrote and mailed to Ortiz a letter approving the

distribution of profits among the members of the JUA for the

year 1998, because the same conformed to the distribution of the

premium dollar underlying the premium charged for the compulsory

insurance. This mailing was delivered in violation of the Mail

Fraud Statute, 18 U.S.C. § 1341. Further, this was an overt act

committed as part of the conspiracy to violate RICO.

    9.26 At   all    times   material   herein   --   as   stated    in   the

August 18, 1999 letter, from Garcia to Ortiz -- the distribution

of the premium dollar underlying the premium annually charged

for the compulsory insurance, as sanctioned by the OIC has been

the following one:

Concept                                                    Percent

Acquisition Cost                                           8%
Taxes, Licenses and Charges                                1%
Administrative cost                                        7%
Gain                                                       5%
Subtotal                                                   21%

Losses & Adjustment for Losses                             79%

TOTAL:                                                     100%



                                   42
        Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 46 of 82



       9.27 According to the distribution of the premium dollar

established by the OIC, 8% is destined to cover the “acquisition

cost” consisting in the commission to be paid to the insurance

broker and other expenses inherent to the performance of the

broker’s duties, as specifically acknowledged by the Insurance

Commissioner Garcia, on August 25, 2000, in Ruling No. CA-8-

1578-2000.

       9.28 The JUA’s annual statements for the period covering

from    1998     through     to   2010,    disclosed        that    it   only     paid

commissions amounting to $8,756.00 to agents as brokerage fees

in the year 2000, stopping thereafter to make any additional

payment     by    such     concept,       despite     the     mandates       of   the

Commonwealth’s Insurance Code that brokers had to be used for

the sale of the insurance policies.

       9.29 According to the distribution of the premium dollar

established       by   the    OIC,    7%       is   earmarked      to    cover    the

“administrative cost” for the issuance of a paper copy of the

insurance policy -- as mandated by 26 P.R. Laws Ann § 8054(c) in

conjunction with Chapter 11 of Title 26 of Puerto Rico Laws

Annotated -- and related expenses. However, the estimated real

cost incurred by the JUA was a 3%, since it did not issue any

policy nor mailed any to the insured, as it is the custom with

other     insurances.        By   consequence,        there        is    a   4%    of

administrative cost of the premium dollar that was not spent.

                                          43
       Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 47 of 82



During such 12-year period, the traditional insurer Defendants

did not have any administrative cost, or if they had, it was

very small.

      9.30 According        to    the   distribution       of    the    prime     dollar

established by the OIC, 5% was supposed to constitute the gain

or    profit    to    the    insurer    for      the    sale    of    the   compulsory

liability insurance policy.

      9.31 It follows from the forgoing that from 1998 to 2010, a

12% of the premium dollar destined for acquisition costs and

administrative costs was not incurred by Defendants. Although

the JUA received completely the $99 and $148 annual premiums and

distributed      substantial       profits       from   those     proceeds      to    the

Defendant members of the ENTERPRISE, the funds of expenses not

incurred       were   not    reimbursed.         This    conduct       constitutes       a

violation to Article 27.160 of the Insurance Code.

      9.32 Moreover, the profit or gain derived by the Defendant

members of the ENTERPRISE from the sale of compulsory liability

insurance      policies     in    reality     amounted    to    17%    of   the      prime

dollar, instead of the 5% allowed by the OIC.

      9.33 Table I below details the collected premiums, plus the

acquisition      costs      not   incurred       that   were    collected       by    the

Defendants and not reimbursed to the Representative Plaintiffs

and    Class    Members      in    violation      to    Article       27.160    of    the

Insurance Code.

                                            44
          Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 48 of 82



                                                         TABLE I
Year      Premiums         Percentage      Acquisition     Cumulative      Percentage   Interest       Acquisition
          Collected        Acquisition     Costs           Acquisition     Interest                    Costs Plus
                                Costs                      Costs Not                                   Interests
                                                           Incurred

1998      $219,486,751      8.00%         $17,558,940      $17,558,940     6.00%        $1,053,536     $18,612,476
1999      $154,260,785      8.00%         $12,340,863      $29,899,803     6.00%        $1,793,988     $14,134,851
2000      $150,211,815      8.00%         $12,016,945      $41,916,748     6.00%        $2,515,005     $14,531,950
2001      $165,764,800      8.00%         $13,261,184      $55,177,932     6.00%        $3,310,676     $16,571,860
2002      $178,840,198      8.00%         $14,307,216      $69,485,148     6.00%        $4,169,109     $18,476,325
2003      $175,829,609      8.00%         $14,066,369      $83,551,517     6.00%        $5,013,091     $19,079,460
2004      $186,627,928      8.00%         $14,930,234      $98,481,751     6.00%        $5,908,905     $20,839,139
2005      $188,909,000      8.00%         $15,112,720      $113,594,471    6.00%        $6,815,668     $21,928,388
2006      $198,456,178      8.00%         $15,876,494      $129,470,965    6.00%        $7,768,258     $23,644,752
2007      $186,807,772      8.00%         $14,944,622      $144,415,587    6.00%        $8,664,935     $23,609,557
2008      $202,428,047      8.00%         $16,194,244      $160,609,831    6.00%        $9,636,590     $25,830,834
2009      $203,642,295      8.00%         $16,291,384      $176,901,214    6.00%        $10,614,073    $26,905,456
2010      $192,218,965      8.00%         $15,377,517      $192,278,731    6.00%        $11,536,724    $26,914,241

TOTALS:   $2,403,484,143                                   $192,278,731                 $78,800,558     $271,079,290

          9.34 As shown in Table I above, and Table II below, the

premiums          collected                in       the         1998-2010          period          amount       to

$2,403,484,143.00.                  The       8%     in     the        column      under       the     heading

“percentage              acquisition               costs”        in      Table      I    represents           the

percentage            of     the         premium         dollar       charged      for     the        insurance

broker’s commission. The cumulative acquisition costs collected

from the insured motor vehicle owners, which in reality were not

incurred        by       the     Defendants,              add     up     to $192,278,731.00.                These

monies were never reimbursed. The monies collected under the

guise of “acquisition costs” plus the accrued interests totalize

$271,079,290.00.

          9.35 Table II below details the collected premiums, plus

the part of the                   administrative costs not incurred that were

collected             by     the         Defendants             and       not    reimbursed            to     the

                                                           45
              Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 49 of 82



  Representative                Plaintiffs            and       Class        Members          in     violation         to

  Commonwealth Law.

                                                        TABLE II
Year      Premiums         Percentage         Administrative        Cumulative       Percentage    Interest     Administrative
          Collected        Administrative     Costs                 Administrative   Interest                   Costs Plus
                           Costs                                    Costs Not                                   Interests
                                                                    Incurred

1998      $219,486,751       4.00%            $8,779,470            $8,779,470        6.00%        $526,768     $9,306,238
1999      $154,260,785       4.00%            $6,170,431            $14,949,901       6.00%        $896,994     $7,067,425
2000      $150,211,815       4.00%            $6,008,473            $20,958,374       6.00%        $1,257,502   $7,265,975
2001      $165,764,800       4.00%            $6,630,592            $27,588,966       6.00%        $1,655,338   $8,285,930
2002      $178,840,198       4.00%            $7,153,608            $34,742,574       6.00%        $2,084,554   $9,238,162
2003      $175,829,609       4.00%            $7,033,184            $41,775,758       6.00%        $2,506,545   $9,539,730
2004      $186,627,928       4.00%            $7,465,117            $49,240,875       6.00%        $2,954,453   $10,419,570
2005      $188,909,000       4.00%            $7,556,360            $56,797,235       6.00%        $3,407,834   $10,964,194
2006      $198,456,178       4.00%            $7,938,247            $64,735,483       6.00%        $3,884,129   $11,822,376
2007      $186,807,772       4.00%            $7,472,311            $72,207,793       6.00%        $4,332,468   $11,804,778
2008      $202,428,047       4.00%            $8,097,122            $80,304,915       6.00%        $4,818,295   $12,915,417
2009      $203,642,295       4.00%            $8,145,692            $88,450,607       6.00%        $5,307,036   $13,452,728
2010      $192,218,965       4.00%            $7,688,759            $96,139,366       6.00%        $5,768,362   $13,457,121

TOTALS:   $2,403,484,143                                            $96,139,366                    $39,400,279 $135,539,645

            9.36 The 4% in the column under the heading “percentage

  administrative costs” that appears in Table II represents the

  percentage             of     the         premium        dollar         the        Defendants          charged       by

  concept of issuing and sending the paper uniform policies to the

  insured          motor         vehicle          owners.           The      cumulative            administrative

  costs collected from the insured motor vehicle owners amounts to

  $96,139,366.00.                 In    reality,           the        Defendants          did       not       incur    in

  these costs, since the compulsory insurance policies were never

  issued. The cost for this item was never reimbursed either. The

  monies collected under the guise of administrative costs plus

  accrued interests totalize $135,539,645.00.



                                                               46
       Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 50 of 82



      9.37 The grand total of costs collected and not reimbursed

is $288,418,097.00. Accrued interests amount to $118,200,837.00.

The sum of these amounts yields $406,618,935.00. Therefore, the

injuries   suffered       by      the    Representative            Plaintiffs            and   Class

Members during the twelve-year period in question as result of

the   collection        of     monies         in        excess   and         in   violation       to

Commonwealth law totalize $406,618,935.00.

      9.38 Article        27.160        of    the        Insurance      Code      prohibits       the

collection      as     premium     of        any        amount   that    is       not    “actually

expended or in due course to be expended.” 26 P.R. Laws Ann. §

2716(2)-(3).      It    also      mandates          the     return      of     the      premium    or

charge for insurance of any sum in excess of the amount really

spent. Id. The Defendants failed to comply with the express

mandate    of    the    law,      and    in        the     process      they      profited     with

$406,618,935.00, which they had to return to the Plaintiffs and

the   Class     Members      by   express           disposition         of    Article      27.160.

Nevertheless, the Defendants have made no effort to reduce the

compulsory liability premium, enriching themselves in millions

of dollars at the expense of the Puerto Rican motor vehicle

owners.

      9.39 Originally conceived as a residual insurer, the JUA

was expected to sustain economic losses, which were supposed to

be spread among all the traditional insurers that comprise it.

The reality has been just the opposite. Since the inception of

                                                   47
        Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 51 of 82



the     compulsory        insurance        system,      the     JUA     has      gained

extraordinary profits from the compulsory liability insurance

scheme, held valuable investments and distributed substantial

amounts in dividends to the traditional insurer Defendants.

      9.40 According to the DTPW records, presently 2.4 million

motor    vehicles     exist   in    Puerto      Rico,   of     which    only    sixteen

percent (16%) have traditional insurance. Between the years 1998

and 2010, the income in annual premiums for the JUA and the

traditional insurer Defendants, as shown above in Tables I and

II, exceeded 2.4 billion dollars ($2,400,000,000.00). Of that

amount,      the   Defendants   misappropriated         more     than     288   million

dollars in acquisition costs and administrative costs collected,

but not really incurred.

      9.41 From 1998 to 2010, as shown in Table III below, the

JUA reported in its financial statements net income derived from

underwriting compulsory insurance policies and investments in

the total amount of $452,635,690.00, and declared therein the

distribution of $102,737,554.00 in dividends among the Defendant

members of the ENTERPRISE: CAICO, CHARTIS (formerly known as

AIG), COOPERATIVA, INTEGRAND, MAPFRE–PRAICO (formerly known as

PRAICO),      NATIONAL,    OPTIMA,    REAL      LEGACY,       TRIPLE-S,    UNIVERSAL,

ROYAL    &   SUN,   PREFERRED      RISK,    ALLSTATE,     GENERAL       ACCIDENT    and

NATIONWIDE.



                                           48
        Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 52 of 82



                                     Table III

Year    Gross Income                       Net Income          Dividends

1998    $31,084,738       Tax   Exempt     $31,084,738       $0
1999    $31,699,793       Tax   Exempt     $31,699,793       $6,866,837
2000    $28,393,696       Tax   Exempt     $28,393,696       $7,597,475
2001    $28,418,116       Tax   Exempt     $28,418,116       $7,666,401
2002    $11,785,549                        $8,460,758        $7,885,243
2003    $21,446,479                        $15,641,566       $7,898,813
2004    $13,096,583                        $11,166,583       $8,717,221
2005    $8,575,687                         $8,404,910        $9,063,916
2006    $26,342,497                        $16,970,636       $7,593,556
2007    $49,804,446                        $33,681,536       $9,728,886
2008    $75,345,496                        $47,497,598       $9,457,678
2009    $79,073,396                        $54,697,238       $10,079,413
2010    $47,569,214                        $33,655,914       $10,182,115

TOTAL $452,635,690                         $349,773,082      $102,737,554

       9.42 In      furtherance      of     the     Scheme     to   Defraud,       the

Defendants       JUA,     CAICO,    CHARTIS       (formerly      known     as   AIG),

COOPERATIVA,        INTEGRAND,      MAPFRE–PRAICO         (formerly        known    as

PRAICO),     NATIONAL,     OPTIMA,       REAL   LEGACY,    TRIPLE-S,     UNIVERSAL,

ROYAL    &   SUN,   PREFERRED      RISK,    ALLSTATE,     GENERAL    ACCIDENT      and

NATIONWIDE, acting in concert, jointly, aiding and abetting and

conspiring with each other, knowingly and deliberately, failed,

and still continue to fail, to comply with their statutory duty

to return the monies collected for costs that were not incurred;

and,    instead,        have    unlawfully        kept   and    distribute      among

themselves millions of dollars that legally correspond to the

insured, the reimbursement of which is the object of this legal

action.



                                           49
      Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 53 of 82



                              X. THE PREDICATE ACTS

      10.1    In   furtherance         of        the    Scheme       to     Defraud,       the

Defendants and the other members of the ENTERPRISE, knowingly,

intentionally and unlawfully, aided and abetted, conspired and

agreed, with each other, to attempt to commit, and each of them,

in   fact,   did   commit,      as    principals,            the    predicate       acts    of

racketeering detailed hereunder, in violation of 18 U.S.C. § 2.

      10.2 In addition, in furtherance of the Scheme to Defraud,

each of the Defendants, all of them members of the ENTERPRISE,

conspired, confederated and agreed, with each other, to attempt

to commit, and did commit, the predicate acts of racketeering

detailed     hereunder,       and,     in    doing          so,    violated        the    RICO

prohibitions, as defined in 18 U.S.C. § 1962.

      10.3 Whenever      it     is    alleged      in       the    complaint       that    any

Defendant    did   any    act    or    thing,          it   is     meant    that    it,    its

Directors,     Officers,        agents,      employees,            or      the   Directors,

Officers, agents or employees of its subsidiaries or affiliates,

performed or participated in such act or thing, and in each

instance that such act or thing was authorized or ratified by,

and done on behalf of, that Defendant.

      10.4 In furtherance of the Scheme to Defraud, as explained

hereunder, the predicate racketeering acts consisted of millions

of violations of the Mail Fraud Statute, 18 U.S.C. § 1341 and

the Wire Fraud Statute, 18 U.S.C. § 1343.

                                            50
       Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 54 of 82



       10.5 In          furtherance        of    the     Scheme        to        Defraud,     the

Defendants         and    the     other     members      of     the     ENTERPRISE,         also

knowingly, intentionally and unlawfully, aided and abetted and

conspired in the commission of millions of violations of Puerto

Rico statutes, including, among others, the following provisions

of the Insurance Code: 26 P.R. Laws Ann. § 329(a) (conducting

insurance transactions through unlicensed individuals); 26 P.R.

Laws   Ann    §        1114    (requiring       the    issuance    of       paper    insurance

policies); and, 26 P.R. Laws Ann. § 2716(2)-(3) (illegal dealing

in premiums).

       10.6 These violations were committed by the Defendants and

the other members of the ENTERPRISE, through, or by means of,

interrelated fraudulent artifices, all which formed part of the

same common plan or Scheme to Defraud.

                   XI. THE PATTERN OF RACKETEERING ACTIVITY

       11.1 In the Scheme to Defraud, the millions of predicate

racketeering           acts     detailed    herein      below     form       a     pattern,   as

defined      by    18     U.S.C.      1961(5),        inasmuch    as        they    have    been

committed         by    the     Defendants       and    the    other        members    of     the

ENTERPRISE,             through       continuous,         uninterrupted,              criminal

activity, which began on or around, 1998, which has continued up

to   the     present          year,   2011,     and    which     has    a     high    risk     of

continuing into the future.



                                                51
      Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 55 of 82



      11.2 In addition, within the Scheme to Defraud, as it is

shown herein below, the predicate acts are related given that

they have the following commonalties:

             a) the same purpose or goal: to illegally collect
             charges from motor vehicle owners for costs not
             incurred as part of the insurance premiums, namely
             brokerage and administrative costs not incurred, and
             to keep the monies so obtained for the economic
             benefit   of the   Defendants,  as  members  of  the
             ENTERPRISE, when the Insurance Code prohibits such
             practice;

             b) the same results: to deprive said motor vehicle
             owners of their monies and the acquisition of such
             assets;

             c) the same participants:                    the    Defendants    and       the
             defined ENTERPRISE;

             d) the same victims:                 the   Plaintiffs      and   the   Class
             Members; and,

             e) the same methods of commission: the Scheme to
             Defraud and the common predicate acts in furtherance
             thereof through the use of the mails.

      11.3 These        predicate       racketeering            acts    are   otherwise

interrelated     by     the   foregoing       distinguishing           characteristics;

and, are not isolated events, since they were carried out for

the   same     purposes       in    a    continuous         manner       throughout        a

substantial period of time.

      11.4 In     the     Scheme        to    Defraud,          the    continuity        and

relatedness     of      these      racketeering          activities      constitute        a

pattern   of    racketeering        activities          within   the    meaning     of    18

U.S.C. § 1961(5).


                                             52
       Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 56 of 82



                              XII. CLASS ALLEGATIONS

      12.1 Plaintiffs bring this action on their own behalf and,

pursuant to Rule 23(a), 23(b)(1)(A) & (B), 23 (b)(2) and/or

(b)(3) as a class action on behalf of the Class Groups defined

in   Section      III(A),     supra.    This       Class    seeks   certification     of

claims for declaratory and injunctive relief, and for damages

pursuant to 18 U.S.C. § 1962(a)(b)(c) & (d).

      12.2 Each named Plaintiff possesses the same interests and

has suffered the same economic injury shared by all the Members

of the Class that he represents, which claims for damages and

equitable relief arise from the same operative facts and legal

theories detailed herein below.

A. RULE 23(a) NUMEROSITY

      12.3    The    Plaintiffs      Classes        are    reasonably     estimated   to

consist      of     the   owners       of    over     2,400,000       motor    vehicles

registered in the DTPW as duly authorized to travel                              through

Puerto    Rico       thoroughfares,          all     with    compulsory        liability

insurance, such as the Plaintiff Representatives.

      12.4     The    exact    total        number    of    Class    Members    can   be

reasonably ascertained from the records in the possession or

under the control of the Defendants and the DTPW.

      12.5 The       Members    of   the     Group    Classes       are   certainly   so

numerous that joinder of all members is impracticable.



                                             53
        Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 57 of 82



      12.6 On the other hand, the identity and addresses of the

Members of the Classes are reasonably ascertainable and can be

readily identified from the business records maintained by the

Defendants and the DTPW.

      12.7 Moreover, individual lawsuits by Class Members are not

practical due to the economic cost of the litigation, vis a vis,

the monetary value of most individual claims which otherwise

might well never be vindicated.

      12.8 Finally,           the     reliefs      sought    by       the    Representative

Plaintiffs and to which Class Members are entitled are uniform

within the two separate Classes.

B. RULE 23(a) COMMONALITY OF FACTS AND LAW

      12.9 The factual and legal issues raised in this complaint

are common to all Plaintiff Representatives and Class Members,

inasmuch as they arise from the same common nucleus of operative

facts, the Scheme to Defraud and the different artifices carried

out   by    the    Defendants         and   the    members       of   the    ENTERPRISE     to

achieve the objectives of such scheme (to acquire and maintain

control      over       the   ENTERPRISE,          to    capitalize         the    ENTERPRISE

through fraudulent artifices, and to fraudulently deprive the

Class      Members      of    their    monies      for     the    Defendants’        and   the

ENTERPRISE'S economic benefit).

      12.10       The    Plaintiffs         and    Class    Members         have   been    all

injured in their property as a direct result of the Defendants’

                                              54
       Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 58 of 82



and the ENTERPRISE'S Scheme to Defraud and the artifices used by

them    to     carry    it     out.   They     have     all    been    object   of    the

collection of a premium in excess of the monetary amount really

spent or in the process of being spent by Defendants for the

compulsory       liability       insurance        without     having    received      the

refund or return required by law. The Scheme to Defraud and

artifices carried out by               the Defendants arise from a single

course of conduct that is identical for each Plaintiff and the

two Classes that they represent. The illegal retention of these

monies has resulted in exorbitant gains for the Defendants.

       12.11 The adjudication of the issue whether the Defendants

and the other members of the ENTERPRISE acted throughout the

alleged      patterns     of    racketeering        activity     involves    issues    of

fact   and     law     that     are   common      to    all   Plaintiffs     and   Class

Members.

C. RULE 23(a) TYPICALITY

       12.12    The     named    Plaintiff        Representatives      and   the   Class

Members, each and all, have tangible and legitimate actionable

claims and interests at stake in this action.

       12.13      The        claims    of         the    named     Plaintiff       Class

Representatives are typical of the claims of the absent Class

Members, all of whom have a common origin and share a common

basis of fact and law.



                                             55
        Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 59 of 82



      12.14     The     claims         of        the    named        Plaintiff          Class

Representatives and Class Members arise from the same Scheme to

Defraud and the artifices carried out by Defendants and the

members of the ENTERPRISE to achieve its goal. That is, the

claims of the named Plaintiff Class Representatives and Class

Members arise from the same patterns of racketeering activity

and are based upon the same legal theories which are alleged to

be    in   violations       of   the    RICO        Act.     Thus,      the      individual

characteristics of the named Plaintiffs are typical of the ones

of the Class Members that they represent.

      12.15     Defendants       have       acted      in    the    same      way     toward

Plaintiffs and the members of the Classes they represent. As a

result thereof, each named Plaintiff has been personally injured

by the illegal conduct of Defendants in a way typical to the

injury caused to the members of the Classes they represent.

      12.16 The claims of the named Plaintiffs will necessarily

require proof of the same material and substantive facts, rely

upon the same remedial theories, and seek the same relief than

the claims that can be made by the Class Members they represent.

      12.17 The claims and remedial theories pursued by the named

class      representatives       are        sufficiently           aligned       with      the

interests of absent Class members to ensure that the claims of

the     Class   will   be    prosecuted          with       diligence      and      care    by

Plaintiffs as representatives of the Class.

                                            56
     Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 60 of 82



D. RULE 23(a) ADEQUACY OF REPRESENTATION

    12.18 The claims of the named Plaintiffs and the members of

the two Classes they are willing and prepared to represent are

so interrelated that the interests of the Class Members will be

adequately protected in their absence by Plaintiffs, complying

with all of the obligations and duties material thereto.

    12.19 Plaintiffs have no interests adverse to the interests

of the Class Members.       The self-interests of the named Class

Representatives are equal, and not antagonistic, to those of the

absent Class Members. The proposed representatives will, thus,

undertake to well and truly protect the interests of the absent

Class Members.

    12.20 The named plaintiffs have engaged the services of the

undersigned counsels. Said counsels are experienced in complex

litigation,    will   adequately    prosecute       this   action,    and   will

assert, protect and otherwise well represent the named Class

Representatives and absent Class Members.

E. RULE 23(b)(1)(A) & (B)

    12.21     The   prosecution    of    separate    actions   by    individual

members of the Class would create a risk of adjudications with

respect to individual members of the Class, which would, as a

practical matter, be dispositive of the interests of the other

similarly situated members of the Class who are not parties to



                                        57
      Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 61 of 82



the action, and/or could substantially impair or impede their

ability to protect their interests.

      12.22   The   prosecution   of    separate     actions    by    individual

members of the Class would also create a risk of inconsistent or

varying adjudications with respect to individual Members of the

Class, which would establish incompatible standards of conduct

for the parties opposing the Class. Such incompatible standards

and   inconsistent     or   varying     adjudications,        on     what   would

necessarily be the same issues of facts, evidence and theories

of law, would also create and allow to exist inconsistent and

incompatible rights within the Plaintiff Class.

F. RULE 23(b)(2)

      12.23 Defendants have acted or refused to act on grounds

generally applicable to the Class, making final declaratory or

injunctive relief appropriate.

G. RULE 23(b)(3)

      12.24 The questions of law and fact common to members of

the   Classes   predominate    over         any   questions    affecting     only

individual members.

      12.25 Under these circumstances, a class action is superior

to individual claims and may be the only practical method for

the fair and efficient adjudication of the controversies alleged

in this complaint, inasmuch as:



                                       58
        Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 62 of 82



  a. Individual claims by the Class Members are impractical as
     the costs of litigation may far exceed what any one
     plaintiff or Class member has at stake.

  b. There has been no individual litigation over the federal
     RICO violations raised herein, and individual Class Members
     should have no interest in prosecuting and controlling
     separate federal RICO actions.

  c. The litigation of the federal RICO claims herein should be
     concentrated in this forum, because all the parties are
     found within, and are under the jurisdiction of this
     District Court.

  d. The proposed Class Action can be readily managed with the
     assistance of the guidelines contained in the Manual for
     Complex Litigation adopted by the Federal Judicial Center.

  XIII. LAW VIOLATIONS IN FURTHERANCE OF THE SCHEME TO DEFRAUD

             COUNT I – VIOLATIONS TO SECTION 1962(c) OF RICO

A. THE ENTERPRISE:

    13.1 The          preceding       paragraphs         are    hereby     incorporated

herein as though fully set forth and are made a part of this

paragraph.

    13.2 This cause of action arises under 18 U.S.C. § 1962(c)

and is asserted against all the Defendants.

    13.3       Each    of    the      Defendants,        the   JUA,    CAICO,     CHARTIS

(formerly known as AIG), COOPERATIVA, INTEGRAND, MAPFRE–PRAICO

(formerly      known    as       PRAICO),    NATIONAL,         OPTIMA,    REAL    LEGACY,

TRIPLE-S,     UNIVERSAL,         PREFERRED       RISK,    ROYAL    &     SUN,   ALLSTATE,

GENERAL ACCIDENT and NATIONWIDE, for purposes of this particular

cause   of    action,       is   or   has   been    a    "person"      employed    by   or

associated with an enterprise engaged in, or the activities of

                                            59
     Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 63 of 82



which affect, foreign or interstate commerce, and as such, has

conducted       or     participated,        directly       or    indirectly,      in    the

conduct    of    such       enterprise's         affairs     through    a    pattern    of

racketeering activity as described herein before.

    13.4 For purposes of this particular cause of action under

Section    1962(c),         the    ENTERPRISE       is   the    association       in   fact

defined in Section VIII, supra.

    13.5 Since on or around, 1997, the Defendants and the other

members     of        the    ENTERPRISE,           knowingly,     intentionally         and

unlawfully, aided and abetted, and conspired with each other, to

devise, or intend to devise the Scheme to Defraud, by which they

were to illegally obtain, acquire and maintain control of the

refundable payments paid by the Representative Plaintiffs and

Class Members, to later illegally keep those assets for their

own pecuniary benefit and interest.

    13.6 In furtherance of their Scheme to Defraud and of their

conspiracy,          and    in     order    to     effects      its   objectives,      the

ENTERPRISE, knowingly, intentionally and unlawfully, aided and

abetted to commit, attempted to commit, conspired to commit, did

commit, and caused to be committed, the below enumerated overt

and/or    predicate         acts    of     racketeering      activity       to   illegally

charge the Representative Plaintiffs and Class Members monies

for non-incurred costs as part of the annual insurance premiums



                                              60
      Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 64 of 82



and subsequently retain the refundable payments made in excess

by the Representative Plaintiffs and Class Members.

B. RACKETEERING PREDICATE ACTS:

      13.7 From          1998,         to     the    present,       for       the     purpose    of

executing        the    ENTERPRISE’s           Scheme      to     Defraud,      the    Defendants

caused     the    DTPW       to   place       in    the    post     offices      or    authorized

depositories           for   mail      matter       envelopes,       containing        the     motor

vehicles     licenses             or        registrations         which       were     thereafter

delivered, by the United States Postal Service, to all motor

vehicles owners in Puerto Rico, in violation of the Mail Fraud

Statute,     18        U.S.C.     §     1341.       The    motor    vehicles         licenses     or

registrations contained the billing for the annual premium for

the compulsory insurance policy, which fraudulently included an

acquisition       cost       that      was     never      going    to    be     spent,   plus    an

administrative cost that was never going to be incurred by the

Defendants.            Moreover,             the     motor         vehicle          licenses     or

registrations           fraudulently           omitted       the    utterly         relevant    and

essential        information           that    those      parts     of    the    dollar-premium

collected in excess were refundable.

      13.8 Envelopes              containing             motor     vehicles         licenses      or

registrations were delivered by the United States Postal Service

to:

      a.    Plaintiff         Representative              Noemi     Torres      Ronda,    in     the

years 1998 through 2011.

                                                    61
        Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 65 of 82



      b. Plaintiff Representative Angelo Rivera Lamboy, in the

years 2005 through 2011.

      13.9     The   specific        months        and    days      when     the     envelopes,

addressed      to      the     Plaintiffs          and        containing         licenses       or

registrations, were caused to be place in the post offices or

authorized depositories for mail matter, as well as the specific

dates    on    which    similar       envelopes          were       mailed      to   the      Class

Members, can be readily               ascertained from the records in the

possession or under the control of the DTPW.

      13.10 Each of these mailings is a predicate act that is

indictable as mail fraud and together they constitute a pattern

of racketeering activity.

      13.11 After receiving each annual license or registration

by mail, each Representative Plaintiff, like every other Class

Member, paid the premium for the compulsory liability insurance

to the Secretary of the Treasury.

      13.12     After        collecting       the        annual       premiums         from     the

Representative Plaintiffs and Class Members, the Secretary of the

Treasury turned over the total proceeds to the JUA, including

the   monies    they     paid    as   premiums           in    excess      of    the    monetary

amount    really       spent    or    to   be      spend       by    the     Defendants        for

compulsory liability insurance coverage; and, thereafter, the

JUA distributed such proceeds among the traditional insurers and

itself.

                                              62
       Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 66 of 82



      13.13         The     Defendants,               knowingly,            intentionally           and

unlawfully, failed to reimburse to the Representative Plaintiffs

and   Class    Members          the    price      they       unknowingly        paid        for    non-

incurred      costs       hidden      in    the       annual      insurance      premium          rate.

Instead,      the    Defendants            embezzled         such      funds    for        their   own

pecuniary benefit.

      13.14      Through         the       conduct         described        herein     above,        in

furtherance         of    the    Scheme          to    Defraud,        the     members       of    the

ENTERPRISE knowingly, intentionally and unlawfully, aided and

abetted    and      conspired          with      each       other      to    violate,       and     did

violate Article 27.160 of the of Puerto Rico Insurance Code, 26

P.R. Laws Ann. § 2716(2)-(3) (illegal dealing in premiums).

      13.15      Through        the        conduct         described        herein    above,       the

Defendants and the other members of the ENTERPRISE, which is

engaged    in,      and    which       activities           affect     interstate          commerce,

knowingly,       intentionally             and        unlawfully,       aided        and    abetted,

conspired      to,        and    each       of    them       in     fact      did,    conduct        or

participate,        directly          or    indirectly,           in    the    conduct       of    the

ENTERPRISE’s         affairs,         through          a   pattern      of     Mail    Fraud,       in

violation of 18 U.S.C. § 1962(c).

C. THE INJURY BY REASON OF THE VIOLATION OF SECTION 1962(c)

      13.16 As proximate cause of the Defendants’ violations to

Section 1962(c), the Plaintiffs and Class Members were injured

in their property inasmuch as each has been object of fraud in

                                                  63
     Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 67 of 82



the collection of a premium in excess of the monetary amount

really spent or in the process of being spent by the Defendants

for the compulsory liability insurance policy, without having

received the refund or return required by law.

    13.17    The        injuries   suffered     by    the   Representative

Plaintiffs and Class Members since 1998, and up to 2010, is

reasonably estimated in the amount of $406,618,935.00.

    13.18 Pursuant to 18 U.S.C. § 1964(c), the Plaintiffs and

the Class Member they represent, shall recover threefold the

damages they have sustained.

    13.19 Pursuant to 18 U.S.C. § 1964(c), the Plaintiffs are

entitled to reasonable attorneys’ fees.

    THEREFORE, the Plaintiffs demand that Judgment be entered

in their favor and the Class Members they represent, and against

the Defendants: ordering the Defendants, to reimburse to the

Plaintiff Representatives and Class Members threefold the monies

they have collected as premiums in excess of the monetary amount

really   spent     by    the   Defendants     for    compulsory   liability

insurance coverage, which up to the year 2010 yield the amount

of ONE BILLION TWO HUNDRED NINETEEN MILLION EIGHT HUNDRED FIFTY

TWO THOUSAND EIGHT HUNDRED AND FIVE DOLLARS ($1,219,852,805.00);

granting them pre-judgment and post-judgment interests; awarding

them a reasonable amount for attorneys’ fees, plus the costs of



                                    -64-
     Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 68 of 82



this action; and, granting such other further relief that under

the circumstances may seem appropriate to this Honorable Court.

         COUNT II – VIOLATIONS TO SECTION 1962(a) OF RICO

A. THE ENTERPRISE:

    13.20     The   preceding    paragraphs     are     hereby     incorporated

herein as though fully set forth and are made a part of this

paragraph.

    13.21 This cause of action arises under 18 U.S.C. § 1962(a)

and is asserted only against the JUA.

    13.22 For purposes of this particular cause of action under

Section 1962(a), the JUA is the ENTERPRISE.

    13.23 The JUA is "an entity capable of holding a legal or

beneficial    interest    in   property",    and    a   "person"    within   the

meaning of 18 U.S.C. § 1961(3).

    13.24 The JUA conducts in Puerto Rico, either directly or

through its business transactions with the traditional insurer

Defendants,   the   business    of    selling   motor    vehicle     compulsory

liability insurance policies.

B. THE RACKETEERING INCOME:

    13.25 Through the conduct described herein before, the JUA,

as the ENTERPRISE, which is engaged in, and which activities

affect   interstate       commerce,      knowingly,      intentionally       and

unlawfully,    received    income    derived,      directly   or    indirectly,



                                      -65-
        Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 69 of 82



from    the    pattern    of     racketeering           activity       in       which     the    JUA

participated as a principal within the meaning of Section 2,

Title    18,    United       States       Code        (18    U.S.C.       §    2),      committing

predicate acts of mail fraud; the JUA then used or invested,

directly or indirectly, part of such income, or the proceeds of

such income, in the operation of itself as an ENTERPRISE, i.e.,

the     sale    of     motor     vehicle         compulsory         liability            insurance

policies fraudulently containing hidden charges for non-incurred

costs to derive racketeering income, in violation of 18 U.S.C. §

1962(a).

       13.26    From     1998,       to   the         present,      for       the    purpose     of

executing       the     ENTERPRISE’s             Scheme       to      Defraud,           the     JUA

transmitted      or    caused        to   be    transmitted,          by       means     of    wire,

funds,    which       included       racketeering           proceeds          gained     from   the

Scheme    to    Defraud,       in     interstate            commerce,         to    a   financial

institution in Chicago, Illinois.

       13.27 In December 2002, the OIC completed an “Examination

Report” of the JUA for the periods comprising from January 1,

1997,    through      June     30,    2001,      wherein       it   was        found     that    the

Northern Trust Company, in Chicago, Illinois, was handling 100%

of the JUA’s investments. The investment transactions between

the JUA and Northern Trust Company were all conducted by means

of electronic transfers such as “book entries” effectuated by a



                                               -66-
       Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 70 of 82



“registrar.”      The      evidence    of     such        transfers      was     maintained

through electronic entries and devoid of physical documentary

receipts     of   the      investments.        The        funds    so    transferred     by

interstate     wire     included      monies        the    Defendants      embezzled     or

misappropriated from the Plaintiffs and Class Members as result

of    the   Scheme    to    Defraud,    in         violation      of    the    Wire   Fraud

Statute, 18 U.S.C. § 1341.

       13.28 Upon information and belief, at least up to 2009, the

Northern Trust Company continued to handle the JUA’s investments

and the investment transactions continued to be conducted by

means of electronic transfers.

       13.29 The specific date when each wire transfer of funds

was made can be readily ascertained from the records in the

possession or under the control of the JUA and the Northern

Trust Company.

       13.30 Each of these wire transfers is a predicate act that

is indictable as wire fraud and together they also constitute a

pattern of racketeering activity.

       13.31 From 1998 to 2008, as shown in Table IV below, the

JUA   reported    $322,892,940.00           in net        income       derived    from   its

investments, as follows:




                                            -67-
         Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 71 of 82



                                      TABLE IV

                                                        Total income
Year       Investment Income      Investment Gain       From Investments

1998       $6,767,898             $0                    $6,767,898
1999       $9,306,809             -$552,474             $8,754,335
2000       $12,142,524            $710,511              $12,853,035
2001       $11,769,936            $4,426,037            $16,195,973
2002       $6,316,884             $1,769,451            $8,086,335
2003       $7,687,535             $2,689,996            $10,377,531
2004       $9,349,563             $1,907,637            $11,257,200
2005       $9,252,932                                   $8,564,727
2006       $9,836,631             $2,352,960            $9,836,631
2007       $11,881,736            -$20,320              $11,881,736
2008       $12,470,940            -$6,146,912           $64,152,640

Totals     $106,783,388           $7,136,886            $113,920,274 = $322,892,940

         13.32 Through the conduct described above, the JUA, as the

ENTERPRISE, which is engaged in, and which activities affect

interstate        commerce,    knowingly,         intentionally    and    unlawfully,

received income from investments, which was derived, directly or

indirectly, from the pattern of racketeering activity in which

the    JUA   participated        as   a    principal    within     the    meaning     of

Section      2,    Title   18,    United       States    Code     (18    USCS    §    2),

committing predicate acts of wire fraud; the JUA then used or

invested, directly or indirectly, part of such income, or the

proceeds     of    such    income,    in    the     operation     of    itself   as   an

ENTERPRISE, i.e., the sale of motor vehicle compulsory liability

insurance policies fraudulently containing hidden charges for

non-incurred costs to derive racketeering income, in violation

of 18 U.S.C. § 1962(a).




                                           -68-
     Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 72 of 82



C. THE INJURY BY REASON OF THE VIOLATION OF SECTION 1962(a):

    13.33 As proximate cause of the JUA’s violations to Section

1962(a), the Plaintiffs and Class Members were injured in their

property    inasmuch      as     each   has     been    object    of   fraud   in   the

collection of a premium in excess of the monetary amount really

spent or in the process of being spent by Defendants for the

compulsory liability insurance policy, without having received

the refund or return required by law.

    13.34      The        injuries      suffered         by    the     Representative

Plaintiffs and Class Members since 1998, and up to 2010, is

reasonably estimated in the amount of $406,618,935.00.

    13.35 Pursuant to 18 U.S.C. § 1964(c), the Plaintiffs and

the Class Member they represent, shall recover threefold the

damages they have sustained.

    13.36 Pursuant to 18 U.S.C. § 1964(c), the Plaintiffs are

entitled to reasonable attorneys’ fees.

    THEREFORE, the Plaintiffs demand that Judgment be entered

in their favor and the Class Members they represent, and against

the Defendants: ordering the Defendants, to reimburse to the

Plaintiff Representatives and Class Members threefold the monies

they have collected as premiums in excess of the monetary amount

really     spent     by    the     Defendants          for    compulsory    liability

insurance coverage, which up to the year 2010 yield the amount



                                         -69-
     Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 73 of 82



of ONE BILLION TWO HUNDRED NINETEEN MILLION EIGHT HUNDRED FIFTY

TWO THOUSAND EIGHT HUNDRED AND FIVE DOLLARS ($1,219,852,805.00);

granting them pre-judgment and post-judgment interests; awarding

them a reasonable amount for attorneys’ fees, plus the costs of

this action; and, granting such other further relief that under

the circumstances may seem appropriate to this Honorable Court.

          COUNT III – VIOLATIONS TO SECTION 1962(d) OF RICO

A. THE ENTERPRISE:

    13.37     The     preceding   paragraphs        are    hereby       incorporated

herein as though fully set forth and are made a part of this

paragraph.

    13.38 This cause of action arises under 18 U.S.C. § 1962(d)

and is asserted against all the Defendants.

    13.39 For purposes of this particular cause of action under

Section    1962(d),    the   ENTERPRISE        is   the   association       in     fact

defined in Section VIII, supra.

B. THE CONSPIRACY:

    13.40 All the Defendants and others unknown, aiding and

abetting each other, acting in concert and/or combination, did

knowingly,   intentionally,       and    unlawfully       agree    to     commit    the

multiple predicate acts of mail fraud (specifically described

herein    before)     forming   the     alleged     pattern       of    racketeering

activity    (also     described   herein       before),     as     part    of    their



                                        -70-
     Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 74 of 82



unlawful Scheme to Defraud the, and to obtain money from, the

Representative     Plaintiffs         and    Class        Members    who    purchased      or

acquired    the    motor      vehicle        compulsory         liability       insurance

policies   fraudulently        containing           the    hidden    charges    for      non-

incurred    costs,       and      thereby            unlawfully           defrauded      the

Representative Plaintiffs and Class Members.

    13.41    All   the     Defendants         have        violated   Section       1962(d),

inasmuch as, in furtherance of their Scheme to Defraud and in

order to effects its objectives, they knowingly, intentionally,

and unlawfully, aiding and abetting each other, conspired to

conduct and participate in, and did conduct and participate in,

directly or indirectly, the affairs of the ENTERPRISE, through

the pattern of racketeering activity described herein before, in

violation to Section 1962(c).

C. THE INJURY BY REASON OF THE VIOLATION OF SECTION 1962(d):

    13.42 As proximate cause of the JUA’s violations to Section

1962(d), the Plaintiffs and Class Members were injured in their

property   inasmuch      as    each    has         been    object    of    fraud    in   the

collection of a premium in excess of the monetary amount really

spent or in the process of being spent by Defendants for the

compulsory liability insurance policy, without having received

the refund or return required by law.




                                            -71-
     Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 75 of 82



    13.43    The        injuries   suffered     by    the   Representative

Plaintiffs and Class Members since 1998, and up to 2010, is

reasonably estimated in the amount of $406,618,935.00.

    13.44 Pursuant to 18 U.S.C. § 1964(c), the Plaintiffs and

the Class Member they represent, shall recover threefold the

damages they have sustained.

    13.45 Pursuant to 18 U.S.C. § 1964(c), the Plaintiffs are

entitled to reasonable attorneys’ fees.

    THEREFORE, the Plaintiffs demand that Judgment be entered

in their favor and the Class Members they represent, and against

the Defendants: ordering the Defendants, to reimburse to the

Plaintiff Representatives and Class Members threefold the monies

they have collected as premiums in excess of the monetary amount

really   spent     by    the   Defendants     for    compulsory   liability

insurance coverage, which up to the year 2010 yield the amount

of ONE BILLION TWO HUNDRED NINETEEN MILLION EIGHT HUNDRED FIFTY

TWO THOUSAND EIGHT HUNDRED AND FIVE DOLLARS ($1,219,852,805.00);

granting them pre-judgment and post-judgment interests; awarding

them a reasonable amount for attorneys’ fees, plus the costs of

this action; and, granting such other further relief that under

the circumstances may seem appropriate to this Honorable Court.




                                    -72-
       Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 76 of 82



               COUNT IV – THE INSURANCE CODE VIOLATIONS

      13.46    The   preceding     paragraphs   are     hereby   incorporated

herein as though fully set forth and are made a part of this

paragraph.

      13.47 This cause of action arises under the Puerto Rico

Insurance Code and is asserted against all the Defendants.

      13.48 Article 27.160 of the Insurance Code prohibits the

insurers to collect premiums for its policies that include items

or charges which are improper, speculative or do not adjust to

reality and the insurers are obliged to give back the excess of

the amount really spent or on the way to being spent for the

corresponding insurance.

      13.49    The   Defendants    conspired    to,   and   did,   engage   in

conduct designed to deceive the Representative Plaintiffs and

the Class Members and take their money and property under false

pretenses and through improper, inequitable and illegal means.

      13.50 Not reimbursing the 8% of acquisition costs and the

4% of administrative costs for the uniform premiums of $99 and

$148, which were not incurred, constitutes a flagrant violation

to   Article   27.160   of   the   Insurance    Code,    which   forbids    the

illegal dealing in premiums.

      13.51 As a result of the mentioned conspiracy and illegal

conduct, the Defendants wrongfully obtained money belonging to



                                      -73-
        Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 77 of 82



the Representative Plaintiffs and the Class Members and were

thereby unjustly enriched at the latter’s expense.

       13.52 The Defendants are jointly and severally responsible

and    liable     for       disgorging      all     money      that    they    wrongfully

obtained through their illegal conduct, and for restoring such

money to the Representative Plaintiffs and the Class Members,

plus pre-judgment and post-judgment interest.

       13.53    The     Defendants        have    denied      responsibility      for    the

damages claimed herein. Due to said obstinate and temerarious

denial, and pursuant to the provisions of Rule 44 of the Rules

of    Civil    Procedure       of   the    Commonwealth         of    Puerto   Rico,     the

Representative          Plaintiffs        and     the    Class       Members     are    also

entitled to be awarded a reasonable amount for attorneys’ fees.

       THEREFORE, the Plaintiffs demand that Judgment be entered

in their favor and the Class Members they represent, and against

the Defendants: ordering the Defendants, to reimburse to the

Plaintiff Representatives and Class Members the amounts of money

they have collected as premiums in excess of the monetary amount

really       spent     by    the      Defendants        for     compulsory       liability

insurance coverage, which up to the year 2010 yield the amount

of    FOUR    HUNDRED       MILLION    SIX       HUNDRED      EIGHTEEN   THOUSAND       NINE

HUNDRED       THIRTY    FIVE    DOLLARS      ($406,618,935.00);          granting       them

pre-judgment         and     post-judgment          interests;        awarding    them     a



                                             -74-
        Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 78 of 82



reasonable amount for attorneys’ fees, plus the costs of this

action; and, granting such other further relief that under the

circumstances may seem appropriate to this Honorable Court.

               COUNT V – DECEIT (“DOLO”) IN THE FULFILLMENT
                        OF CONTRACTUAL OBLIGATIONS

       13.54    The    preceding     paragraphs         are    hereby       incorporated

herein as though fully set forth and are made a part of this

paragraph.

       13.55 This cause of action arises under the Puerto Rico

Civil Code and is asserted against all the Defendants.

       13.56 The Defendants, knowingly and intentionally, through

deceitful       means,     avoided     complying        with       their     contractual

obligation of reimbursing the costs for the uniform premiums of

$99 and $148, which were not incurred, to the Representative

Plaintiffs and the Class Members.

       13.57 The Defendants are jointly and severally responsible

and    liable    for     disgorging      all    money     that       they    wrongfully

obtained through their illegal conduct, and for restoring such

money to the Representative Plaintiffs and the Class Members,

plus pre-judgment and post-judgment interest.

       13.58    The    Defendants      have    denied    responsibility         for   the

damages claimed herein. Due to said obstinate and temerarious

denial, and pursuant to the provisions of Rule 44 of the Rules

of    Civil    Procedure    of   the    Commonwealth          of   Puerto     Rico,   the


                                         -75-
       Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 79 of 82



Representative       Plaintiffs       and     the     Class     Members     are   also

entitled to be awarded a reasonable amount for attorneys’ fees.

      THEREFORE, the Plaintiffs demand that Judgment be entered

in their favor and the Class Members they represent, and against

the Defendants: ordering the Defendants, to reimburse to the

Plaintiff Representatives and Class Members the amounts of money

they have collected as premiums in excess of the monetary amount

really      spent    by    the      Defendants       for     compulsory     liability

insurance coverage, which up to the year 2010 yield the amount

of   FOUR    HUNDRED      MILLION    SIX    HUNDRED        EIGHTEEN    THOUSAND   NINE

HUNDRED     THIRTY    FIVE   DOLLARS       ($406,618,935.00);          granting   them

pre-judgment        and    post-judgment          interests;     awarding    them    a

reasonable amount for attorneys’ fees, plus the costs of this

action; and, granting such other further relief that under the

circumstances may seem appropriate to this Honorable Court.

          XIV. PERMANENT INJUNCTION AND DECLARATORY JUDGMENT

      14.1    The    preceding       paragraphs       are     hereby    incorporated

herein as though fully set forth and are made a part of this

paragraph.

      14.2 A permanent injunction and a declaratory judgment will

serve the public interest in putting an end to the Defendants’

fraudulent     conduct,      where    they,       knowingly,    intentionally       and

willfully, fraudulently collected and continue to collect funds



                                           -76-
        Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 80 of 82



in their annual insurance premium as the purported acquisition

(i.e.    brokerage     fees)    and     administrative            costs     that    are       not

going    to    be    incurred,        without       thereafter          effectuating          the

corresponding refund or return of such non-incurred costs to the

Representative Plaintiffs and the Class Members, in violation to

the dispositions of the Puerto Rico Insurance Code.

      14.3     The    issuance        of     a     permanent       injunction           and    a

declaratory     judgment       will    also        serve    the    public      interest       in

putting an end to the illegal retention by Defendants of the

portion of premium or charge for compulsory insurance in excess

of the amount really spent by the insurer, which resulted and

continues to result in a windfall to Defendants of millions of

dollars of illegal gains, in violation of RICO.

      14.4     The   Defendants’           unlawful        conduct,      if      allowed       to

prevail,      will   cause     the    Representative          Plaintiffs          and    Class

Members permanent irreparable injury, as discussed, ante.

      14.5    The    injuries     to       the     Representative         Plaintiffs          and

Class   members      far   outweigh        any     harm    which    may     be    caused      to

Defendants should the Court grant the injunctive relief.

      14.6 A permanent injunction and a declaratory judgment will

serve the public interest in that the Representative Plaintiffs

and   Class    Members     will      not    be     subjected       to    the     Defendants’

unlawful conduct and will not be deprived of their personal



                                            -77-
     Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 81 of 82



property.

                          XV. PRAYER FOR RELIEF

    WHEREFORE, it is respectfully requested that Judgment be

entered by this Honorable Court in favor of the Plaintiffs and

jointly and severally against the Defendants:

            A.   Certifying the Classes defined in this complaint.

            B.   Granting the Plaintiffs and Class Members all the

                 monetary       compensations          and    equitable         relief

                 requested in the complaint.

            C.   Imposing upon the Defendants the payment of all

                 costs    and    expenses         to   be     incurred     in     this

                 lawsuit.

            D.   Granting       the    Plaintiffs           and   Class     Members

                 reasonable attorneys’ fees.

            E.   The     issuance     of      a   permanent       injunction      and

                 declaratory        judgment       barring        the    Defendants

                 continued conduct and practices.

            F.   Granting    the      Plaintiffs       any   other      relief   that

                 they may be entitled to as a matter of law.




    RESPECTFULLY SUBMITTED. In San Juan, Puerto Rico, this 18th

day of August, 2011.



                                       -78-
     Case 3:11-cv-01826-CCC Document 1 Filed 08/19/11 Page 82 of 82




ATTORNEYS FOR PLAINTIFFS:

S/JOSE F. QUETGLAS JORDAN
USDC-PR NO. 203411
Email: jfquetglas@gmail.com

S/PEDRO R. VAZQUEZ III
USDC-PR NO. 216311
Email: prvazquezhotmail.com

S/ERIC QUETGLAS-JORDAN
USDC-PR No. 202514
Eric@Quetglaslaw.com

QUETGLAS LAW OFFICES
PO Box 16606
San Juan PR, 00908-6606
Tel: (787) 722-0635/722-7745
Fax: (787) 725-3970




                                  -79-
